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  1                         UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
  2                       CENTRAL DISTRICT OF CALIFORNIA
                                 WESTERN DIVISION
  3
                                       - - -
  4                      HONORABLE TERRY J. HATTER, JR.
                      UNITED STATES DISTRICT JUDGE PRESIDING
  5                                    - - -

  6
         UNITED STATES OF AMERICA,         )
  7                                        )
                       PLAINTIFF,          )
  8                                        )
         VS.                               )         CASE NO.:
  9                                        )         CR 10-00163-TJH
         ANTHONY SCLAFANI,                 )
 10                                        )
                       DEFENDANT.          )
 11                                        )
                                           )
 12     ___________________________________)

 13

 14

 15                    REPORTER'S TRANSCRIPT OF PROCEEDINGS

 16                        THURSDAY, FEBRUARY 16, 2012

 17                           LOS ANGELES, CALIFORNIA

 18

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                                                                              4


  1     LOS ANGELES, CALIFORNIA; THURSDAY, FEB. 16, 2012; 9:35 A.M.

  2                                      - - -

  3                 THE COURT:    Good morning.

  4                 We're outside the presence the jury.

  5                 Any matters that counsel wish to take up?

  6     Ms. Carter.

  7                 MS. CARTER:    Yes, Your Honor.

  8                 Your Honor, I'm assuming that your information

  9     distributed from the doctor at White Memorial is the last

 10     estimate we have on Ms. Vargas?

 11                 THE COURT:    She is seeing a new psychologist today.

 12     We won't get information on that until sometime later today.

 13     I don't know when.

 14                 MS. CARTER:    Thank you for that information,

 15     Your Honor.    The government anticipates resting very early

 16     this morning.    We would ask the Court for permission to

 17     reopen our case-in-chief if Ms. Vargas competent to testify

 18     and becomes available it do so during the course of the

 19     trial.

 20                 THE COURT:    All right.

 21                 MS. CARTER:    In addition, Your Honor, the

 22     government introduced at the close of the day on Tuesday

 23     stipulation at Government's Exhibit 85.         It related to

 24     different codes and terms used in some of the reports and

 25     there was an oral modification by both counsel as it was



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  1     introduced.    Over the dark day, the parties have conferred

  2     and have added to that stipulation and also corrected the

  3     issue that was addressed in that oral modification and

  4     covered have signed a new stipulation covering the same

  5     subject matters again with some additions and that one

  6     correction.

  7                 The government would inquire whether the Court

  8     would prefer as parties do that it be substituted for the

  9     current Exhibit 85.      Explain in front of the jury.       The jury

 10     can hear both parties agree to the substitution.

 11     Alternatively, of course, the government could mark it as a

 12     new exhibit and introduce it in addition and then the jury

 13     have the oral explanation that this was the more complete one

 14     with the correction made before.        But the parties fear that

 15     might be a little confusing and the substitution might be

 16     more expedient.

 17                 THE COURT:    I'm confused.    I don't know whether the

 18     jury would be or not, but I think you should do what you

 19     suggested initially.

 20                 MS. CARTER:    Very well, Your Honor.      May I provide

 21     to the clerk the new Exhibit 85, a copy for the exhibit

 22     folders and also copies for Your Honor's and madam court

 23     reporter's notebooks?

 24                 THE COURT:    Very well.

 25                 MS. CARTER:    And I believe that's all the



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  1     government has at this time.

  2                 THE COURT:    All right.    Mr. Schwartz, you have

  3     these witnesses available that you wish?

  4                 MR. SCHWARTZ:    We do have several available,

  5     Your Honor.    I believe they may be quick witnesses.         I was

  6     expecting the government to have more of a case today.           We'll

  7     put on what we can put on.       Try to move it along.

  8                 THE COURT:    Well, I had understood that witnesses

  9     needed to be out of here this morning.

 10                 MR. SCHWARTZ:    Yes.   One of them is here.      One of

 11     them is not.    The one who is not when we put him on, he'll

 12     have to testify as he testifies.        The one who has to be out

 13     by 11:00 is here and he'll be relatively quick.

 14                 Regarding what the government just addressed to the

 15     Court regarding Ms. Vargas, just to make a record,

 16     Your Honor, I have to say as an officer of the court, I

 17     believe we understand and sympathize with the government's

 18     quandary about the witness with regards to the witness

 19     problems, and this was one that I have not seen in my years

 20     to this extent.

 21                 THE COURT:    It is interesting.

 22                 MR. SCHWARTZ:    I understand and I'll also be blunt

 23     with the Court, that the Court has as much a humanitarian

 24     interest in Ms. Vargas as the witness interest and I admire

 25     that and my client respects that.        It puts us in a bit of a



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  1     quandary as well.     Only because normally at the end of

  2     government case, we make the motion to dismiss counts

  3     depending on enough evidence to go the jury.          And the problem

  4     here is if the government has leave to reopen their case

  5     after our case, then it's almost as if they're not closing

  6     their case and we can make that same motion.          And some of

  7     attorney's strategy in discussing things with their client

  8     about whether that client should or should not testify

  9     depends on how the government case stands at the end of their

 10     case.

 11                 THE COURT:    Well, perhaps, I could give you some

 12     guidance, though.     It appears to me and that's why I can't as

 13     you know interfere in strategy on either side.          I frankly

 14     don't understand the government's great interest in

 15     presenting this proposed witness.        They have testimony from

 16     others and there is enough as far as I'm concerned to go to

 17     the jury.    So if you were making that motion, it would be

 18     denied.   Of course, then if it were reopened and something

 19     else came out as a result of Ms. Vargas' testimony, you're

 20     free to renew it as you know, and then I would have to

 21     reconsider it.

 22                 MR. SCHWARTZ:    I appreciate the Court's tentative

 23     ruling.

 24                 THE COURT:    That's what it is.

 25                 MR. SCHWARTZ:    Just for the record, that at this



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  1     juncture if the government rests, there's been no testimony

  2     as to the second tase outside my client's statement that

  3     there was a tasing that took place.        There's no testimony as

  4     to the illegality, the nonjustification, to any kind of the

  5     intent issue to willfully deprive somebody of their civil

  6     rights.   And in reality as Mr. Meyer testified and so did

  7     Detective Cole, tasings happened all the time without any

  8     kind of evidence that it was an impropriety outside of the

  9     fact that there were three activations.

 10                  THE COURT:   Well, you'll be able to argue that.

 11     Clearly, as I have indicated to you, my proposed ruling would

 12     be to allow this to go to the jury.

 13                  MR. SCHWARTZ:    Fair enough, Your Honor.

 14                  And other than that, some of our witnesses were

 15     possible rebuttal witnesses and I'll have them available

 16     today and tomorrow so it may go quicker than we planned, but

 17     we'll put them on as quickly as we can.

 18                  THE COURT:   All right.    Let's bring the jury in.

 19                  MR. SCHWARTZ:    Thank you.

 20                  THE COURT:   Thank you.

 21                                  (Jury present.)

 22                  THE COURT:   Please be seated.     We are having some

 23     winter weather and you've also survived Valentine's Day.            Let

 24     me ask you if anything about this has matter come to your

 25     attention?    No hands being raised.



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  1                  We're gonna continue now and complete the

  2     government's case this morning, their case-in-chief.

  3     Ms. Carter.

  4                  MS. CARTER:   Your Honor, at this time the

  5     government would like to move into evidence a revised version

  6     of Government's 85, a stipulation between the parties.

  7     Orally modified by the parties at the end of the day on

  8     Tuesday and has now been corrected and added to.

  9                  THE COURT:    Very well.

 10                  MS. CARTER:   Request permission to publish

 11     Exhibit 85 for the jury and to read it aloud.

 12                  THE COURT:    You may do so.

 13                  MS. CARTER:   United States of America and Defendant

 14     Anthony Sclafani hereby stipulate and agree that the

 15     following terms and codes used in the records of the Desert

 16     Hot Springs Police Department DHSPD had the following

 17     meanings in February 2005.

 18                  There are three columns to the first table.

 19     Computer-aided dispatch CAD, officer number, police records

 20     management system RMS, officer number and meaning.

 21                  The first row reads S-5 for the CAD officer number,

 22     056 RIMS officer number, Sergeant Anthony Sclafani,

 23     defendant.

 24                  201 and 023 for Andrea Heath.

 25                  203-K and 39-K for Officer Matthew Drew, canine.



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                                                                              10


   1                204 for Officer Dennis Decker.

   2                207 for Officer John Collard.

   3                Turning the second page, the same table continues.

   4                209 for Officer Brian Kouakou.

   5                212 and 054 for Officer Matthew Gutting.

   6                004 for Lieutenant James Steiner.

   7                027 for Detective Eddie Cole.

   8                033 for Sergeant Ron Hall.

   9                041 Sergeant Radanomous Gill.

 10                 042 Officer David Hoffman.

 11                 046 Officer Ray Volts.

 12                 048 Officer Chris Costade.

 13                 052 Officer Roy Logan.

 14                 058 Officer David O'Dowd.

 15                 059 Detective Jim Henson.

 16                 060 Officer Jason Johnson.

 17                 066 Officer Patrick Biggers.

 18                 C-1 Chief.

 19                 39 Carolyn Firestone.

 20                 252 Nancy Allen.

 21                 358 Kayla Kittridge.

 22                 359 Kathleen Roacha.

 23                 CSO-4 Terry Sherman.

 24                 Susan Gee.

 25                 Susan Genera.



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                                                                              11


   1                There is a second table with two columns.         The

   2    first CAD term and the second meaning.         The rows read as

   3    follows.

   4                ENRT officer en route to scene.

   5                Turning to page 3:

   6                10-8 in service.     10-15 prisoner in custody.       10-19

   7    returning to or at police station.        10-27 check for driver's

   8    license.    10-29 check for warrants.       10-97 officer arrived on

   9    scene.

 10                 It is so stipulated and it is signed by the parties

 11     and the defendant.

 12                 THE COURT:    All right.    Mr. Schwartz, is this the

 13     stipulation that you have agreed upon on behalf of your

 14     client.

 15                 MR. SCHWARTZ:     Yes, Your Honor.     Thank you.

 16                 THE COURT:    It will be received and the jury may

 17     treat it as they would any other evidence.

 18                 MS. CARTER:    At this time the government rests

 19     provisionally per the outside of the jury presence

 20     discussion.

 21                 THE COURT:    Very well.    In other words, ladies and

 22     gentlemen, the government is resting its case-in-chief with

 23     the understanding that if necessary they can reopen briefly

 24     and we'll move now to the defense case.         As I have indicated

 25     to you as well, the defense doesn't have to put on a case at



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   1    all.   They don't even have to cross-examine, which they have

   2    done, but if they choose to put on a case, then they have a

   3    right to do so.     And Mr. Schwartz, take it for the record.

   4                 MR. SCHWARTZ:    Thank you, Your Honor.      And for the

   5    record, counsel's comments also outside the presence of the

   6    jury just for the record at this time.

   7                 THE COURT:   Yes.    We can take that up outside the

   8    presence of the jury.

   9                 MR. SCHWARTZ:    Thank you, Your Honor.      Get my first

 10     witness.

 11                  THE COURT:   Okay.    Sir, would you come right up on

 12     the witness stand to be sworn.

 13                  THE WITNESS:    Thank you, Your Honor.

 14                               (Witness sworn.)

 15                  THE CLERK:   Please have a seat.      State and spell

 16     your name for the record.

 17                  THE WITNESS:    My name is Greg Meyer.     G-r-e-g

 18     M-e-y-e-r.

 19                  THE COURT:   Do you have a middle name?

 20                  THE WITNESS:    Middle name Monroe M-o-n-r-o-e.

 21                  THE COURT:   Go ahead, please Mr. Schwartz.

 22                  MR. SCHWARTZ:    Thank you, Your Honor.

 23                               DIRECT EXAMINATION

 24     BY MR. SCHWARTZ:

 25     Q.     Good morning, Mr. Meyer.



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                                                                              13


   1    A.     Good morning, sir.

   2    Q.     Just a few questions to clarify your testimony of other

   3    day.     You recall you testified about the taser had the inner

   4    clock?

   5    A.     Yes.

   6    Q.     And that's related to the computer chip within it?

   7    A.     I didn't hear.

   8    Q.     That has some relationship to the computer chip that's

   9    in the taser?

 10     A.     Well, yeah, I mean, there is a clock in there and there

 11     is a computer chip.        I think it's probably all integrated,

 12     but I'm not engineer.

 13     Q.     You spoke about the drift the taser clocks may have?

 14     A.     Yes.

 15     Q.     Much like a regular watch?

 16     A.     Yes.

 17     Q.     And would it be out of the ordinary based on your

 18     training and experience and expertise to have two tasers

 19     activated at the same time in the Department, but

 20     simultaneously have different times on those clocks for the

 21     downloads?

 22                   MR. ARKOW:    Objection.   Leading and vague.

 23                   THE COURT:    It's overruled if you understand the

 24     question.

 25                   THE WITNESS:    Um, that could happen.    It would not



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                                                                              14


   1    be unusual.

   2    BY MR. SCHWARTZ:

   3    Q.    Why is that?

   4    A.    Well, if you have two officers using two tasers at the

   5    same time or approximately the same time, one of the taser's

   6    clocks might have at least a slightly different time than the

   7    other one.     That just would not be unusual.

   8    Q.    And when those tasers are then downloaded or the

   9    computer chip part information is downloaded into a computer,

 10     what happens to that inner clock of the taser when it's

 11     downloaded into a computer?

 12     A.    What happens to the clock?

 13     Q.    Correct, on the taser itself.       Does it change at all?

 14     A.    No.    Any prior taser activations that are recorded on

 15     the computer chip do not change.        What happens when you

 16     download the taser into a computer and then get a download

 17     printout, is there is a program that you go through and it

 18     indicates whether the clock is out of sync with the computer

 19     time and it gives the person that's doing the download the

 20     opportunity to push a button to synchronize the clock for

 21     future purposes.

 22     Q.    Is there any kind of a minimum or maximum

 23     differentiation between the out of sync time from the taser

 24     to the computer that will the computer screen to show it's

 25     out of sync?



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                                                                              15


   1    A.    If the computer time is ten minutes or more different

   2    than the taser clock time for the taser that's being

   3    downloaded, there will be an alert screen on your computer

   4    screen that forces you to synchronize the taser to the

   5    computer that you're going the download on.          In some earlier

   6    versions, it may be less than 10 minutes.          It could 5 minutes

   7    of variance that forces the operator to resynchronize the

   8    clock, before you can proceed and make the download printout.

   9    BY MR. SCHWARTZ:

 10     Q.    Now, you said some earlier versions.         Do you have any

 11     idea if a 2005 version would be different than the 10-minute

 12     differentiation that differentiates the code?

 13     A.    The version that was used in this case according to

 14     what's printed on the download printouts that I saw last week

 15     is Version 15.5 of the download software.          I do not factually

 16     know if that version gives you the warning and forces you to

 17     work through it if there is a ten-minute discrepancy or if

 18     there's a five-minute discrepancy.        It's going to be one of

 19     those two things.      I just don't know the answer.

 20     Q.    And when that warning would pop up on the computer

 21     forcing that taser to be synchronized to the computer clock,

 22     does that affect the time on the download that that operator

 23     was now downloading at that time, would it affect future

 24     times on downloads?

 25     A.    It would affect future recordings of taser activations.



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                                                                                16


   1    The printout would still show the past taser activations at

   2    the times that were in effect when they were activated.            In

   3    other words, those synchronizing the clock during the

   4    download printout would not change any of the prior recorded

   5    times.

   6                 MR. SCHWARTZ:    May I have just a moment please,

   7    Your Honor?

   8                 THE COURT:   Of course.

   9    BY MR. SCHWARTZ:

 10     Q.    And if the two different tasers are synced to two

 11     different computers, would that affect whether those tasers

 12     retain synched to the same time or not?

 13     A.    It would be based -- the synchronization for each taser

 14     would be based on the computer or PC clock time so it would

 15     depend on whether the computer times were the same or

 16     different.

 17                  MR. SCHWARTZ:    Nothing further at this time.

 18                  THE COURT:   All right.    Any questions?

 19                  MR. ARKOW:   Yes, Your Honor.

 20                               CROSS-EXAMINATION

 21     BY MR. ARKOW:

 22     Q.    You mention when a person is doing a download report on

 23     their computer for the taser activation, an alert screen

 24     comes up on the computer?

 25     A.    If there is a ten-minute discrepancy in the times or in



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                                                                              17


   1    an earlier version might have been a five-minute discrepancy

   2    in the times, then the alert screen comes up.

   3    Q.    And what is the purpose of the alert screen?

   4    A.    It's to the notify the person doing the download that

   5    the clock is some significant number of minutes out of sync

   6    and to force you to push a button that says synchronize the

   7    clocks.

   8    Q.    And when you say force you to push a button, does that

   9    mean the person doing the download report can't even continue

 10     with the download report until the clocks are in

 11     synchronization?

 12     A.    Correct.    You cannot continue a program and you cannot

 13     do a download printout until you have synchronized the clocks

 14     if they are more than that number of minutes out of sync.

 15     Q.    Even if the computer version doesn't have the alert

 16     screen, will the person who is doing the download operation

 17     see the times of the taser activation only see on the

 18     computer the clock time on the computer and the internal

 19     clock time of the taser?

 20     A.    Yes.   It shows those things and it shows also how many

 21     minutes and seconds and hours if necessary the discrepancy

 22     is.

 23     Q.    And in this case you don't know --

 24                  THE COURT:   You're asking.

 25                  MR. ARKOW:   Excuse me?



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   1                THE COURT:    You're asking.

   2                MR. ARKOW:    Oh, I'm on cross-examination.

   3                THE COURT:    Go ahead.

   4                MR. ARKOW:    I could rephrase.

   5    Q.    Do you ever any personal knowledge in this case whether

   6    there was any discrepancy in synchronization on the tasers

   7    that were downloaded in this case?

   8    A.    No.

   9    Q.    And if there was a discrepancy between the real time and

 10     the internal check time on the tasers that were being

 11     download, the person who was download operation would be made

 12     aware in doing the download that there is a discrepancy in

 13     the time?

 14                 MR. SCHWARTZ:     Objection.    Misstates the evidence.

 15                 THE COURT:    Well, he is asking.      You may answer.

 16                 THE WITNESS:    The computer screen during the

 17     download process as you're moving forward through the

 18     program, does provide that information to the person doing

 19     the download, you know, if they happen to look at it or

 20     choose to look at it if it's less than ten minutes, for

 21     example, but, you know, it's dependent on whether they look

 22     at it.    Unless they get the alert screen that forces them to

 23     look at it and do something about it.

 24     BY MR. ARKOW:

 25     Q.    The two tasers that were downloaded for one of the



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                                                                               19


   1    incidents in this case, relating to an incident on

   2    February 25th, had both been synchronized recently on the

   3    same computer, would it be more likely that those taser

   4    downloads are in sync with the real time?

   5    A.    It would depend on what with we mean by recently.           Do we

   6    mean days?    Do we mean weeks?      It's difficult to answer is

   7    because, the reason it's difficult to answer is because the

   8    digital clock will typically drift a few minutes a month.

   9    Two or three minutes a month as a norm so it's difficult

 10     without knowing what's meant by recently.

 11                  MR. ARKOW:   No further questions.

 12                  THE COURT:   Any further questions?

 13                  MR. SCHWARTZ:    No, Your Honor.

 14                  THE COURT:   You are excused.     You may call your

 15     next witness.

 16                  MR. SCHWARTZ:    Thank you, Your Honor.

 17                  We call Mr. Norm Schwartz.      He is outside.

 18                  THE COURT:   Sir, come straight ahead.       Come right

 19     up on the witness stand to be sworn.         Right up on the witness

 20     stand, please.

 21                                 (Witness sworn.)

 22                  THE CLERK:   Please have a seat.      State and spell

 23     your name for the record.

 24                  THE WITNESS:    My name is Norm Fort, F-o-r-t.

 25                  THE COURT:   Do you have a middle name Mr. Fort?



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                                                                              20


   1                  THE WITNESS:    Lee.

   2                  THE COURT:   Is Norm your given name?

   3                  THE WITNESS:    Yes, Norman.

   4                  THE COURT:   It's Norman.   Go ahead, please.

   5                  MR. SCHWARTZ:    Thank you, Your Honor.

   6                               DIRECT EXAMINATION

   7    BY MR. SCHWARTZ:

   8    Q.    Good morning, Mr. Fort.

   9    A.    Good morning.

 10     Q.    Are you employed?

 11     A.    I am.

 12     Q.    How so?

 13     A.    I'm in private practice as an independent forensic

 14     consultant and my practice focuses primarily on alcohol and

 15     drug-related matters.

 16     Q.    And how long have you been in private practice?

 17     A.    I have been in private practice for about 15 years.

 18                   THE COURT:   Where do you office, sir?      Where is

 19     your office?

 20                   THE WITNESS:    Filmore, California.

 21                   THE COURT:   Go ahead.

 22     BY MR. SCHWARTZ:

 23     Q.    And when you said private practice as a forensic

 24     consultant, drug-and-alcohol-related, can you be more

 25     specific and tell us what you normally are consulted on?



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   1    What do you do?

   2    A.    Sure.    My practice includes both civil cases and

   3    criminal cases and basically, it involves reviewing various

   4    documents, may be medical documents, may be a police report

   5    of some type.     A large part of my practice also includes

   6    providing training to law enforcement personnel on

   7    alcohol-related issues.       In any event, based on a review of

   8    these various documents, then I consult with attorneys or

   9    consult with the individuals that retained me initially just

 10     to discuss some aspect of the case that would have to do with

 11     alcohol or drugs.

 12     Q.    And what was your position before you were a private

 13     consultant?

 14     A.    I was employed by the Sheriff's Department in Ventura

 15     County for a little over 31 years and I had the opportunity

 16     to work in all of the different areas of the crime laboratory

 17     which ranged from attending autopsies, collecting the

 18     evidence, toxicology, controlled substance, dry drugs, trace

 19     evidence, serology, crime scene investigation.          For a number

 20     of years, I was also involved in crime scene investigations.

 21                   And then the last 16 years of my employment was

 22     devoted to the forensic alcohol program.         I was the forensic

 23     alcohol supervisor in charge of that program.          And my

 24     responsibilities included not only testing of biological

 25     fluids both post-mortem as well as ante-mortem samples, but



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   1    also providing training to law enforcement and managing our

   2    breath alcohol testing program.        Both the preliminary breath

   3    testing program as well as the implied consent alcohol

   4    testing program.

   5    Q.     Do you have any specific degrees or certifications in

   6    relation to the positions you have just outlined?

   7    A.     I do.    My undergraduate degree is in divisional science

   8    which allows me to choose two main areas of study and I chose

   9    biology and chemistry.        After I completed my undergraduate

 10     degree, I taught biology and chemistry at the high school

 11     level for a short period of time.

 12                    THE COURT:   Where did you receive your

 13     undergraduate degree, sir?

 14                    THE WITNESS:   Yes, my undergraduate was from

 15     Arkansas State University and then my graduate degree, which

 16     I actually obtained after I began my employment as a

 17     criminalist in 1965, after that, I attended college in the

 18     evenings and completed my graduate degree in criminalistics

 19     and that was from Cal-State L.A., California State University

 20     L.A.

 21                    THE COURT:   That was a master's degree?

 22                    THE WITNESS:   That was a master of science degree

 23     in criminalistics, yes, Your Honor.

 24     BY MR. SCHWARTZ:

 25     Q.     And as part of your experience over these last more than



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   1    40 years, have you had an opportunity to actually douse

   2    people with alcohol to see their reaction to the effects of

   3    alcohol at different levels of alcohol in their bodies?

   4    A.    I have.    I have in a very controlled environment, I have

   5    had the opportunity to conduct what are called controlled

   6    alcohol studies or probably more so now they're referred to

   7    as wet labs.     And basically what it entails is having

   8    individuals that volunteer to consume alcohol, and then in a

   9    very confined monitored environment, you can calculate based

 10     on an individual's weight what alcohol would have to be

 11     assumed to achieve a particular alcohol reading at some later

 12     particular point.

 13                 So based on the weight, I would calculated the

 14     amount that had to be consumed, and then you have a monitor

 15     that's taking notes.      And then I would test the individuals

 16     with various kinds of breath testing devices so I can get a

 17     complete data curve of how the alcohol is absorbed,

 18     distributed, eliminated, and then when drinking stops, I have

 19     a nurse that would start collecting blood samples and

 20     during -- it's usually about a four-hour study.

 21                 During this time, I'm also interviewing the

 22     individuals, how do you feel now compared to how you felt

 23     earlier.    Giving them field sobriety exercises, interviewing

 24     them in depth about their medical history, drinking habits.

 25     And then the data that's collected from that data, I create



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   1    charts that describe how that particular individual with all

   2    of his or her uniqueness responds to the alcohol that's been

   3    consumed in that environment.

   4                 So I have had the opportunity to do well over a

   5    hundred studies, and then in the training that I provide to

   6    law enforcement, as a part of that training, I also put on

   7    wet labs and I have done, I don't how many, of these through

   8    the years.    But I create the alcohol levels in volunteers and

   9    then based on their training, the students evaluate these

 10     doused subjects and try to determine from their behavior what

 11     their alcohol is.      And then they take breath tests to compare

 12     actual data against what they assessed the level to be from

 13     other, from other indicators.

 14     Q.    And based on the background you have just described and

 15     your experience in testing individuals regarding their

 16     alcohol levels, did you also test individuals regarding their

 17     behavorial as well as mental reactions to stimuli at

 18     different alcohol levels?

 19                  MS. CARTER:    Objection.   Vague.

 20                  THE COURT:    Do you understand the question, sir?

 21                  THE WITNESS:    Yes, Your Honor.

 22                  THE COURT:    It's overruled.    You may answer it.

 23                  THE WITNESS:    Yes.

 24     BY MR. SCHWARTZ:

 25     Q.    And you noted before that would interview different



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   1    individuals with their uniqueness; is that correct?

   2    A.    Based on their uniqueness.       What you're looking at is

   3    how that individual responds to the alcohol that's been

   4    consumed, yes.

   5    Q.    Now, based on your training and experience, a woman who

   6    is about 180 pounds at a blood alcohol level of .22, would

   7    you expect them to be affected in some capacity mentally by

   8    the alcohol?

   9                MS. CARTER:    Objection, Your Honor, to this

 10     witness's qualifications as an expert in this area.

 11                 THE COURT:    Do you wish voir dire now or wait until

 12     you actually cross-examine?

 13                 MS. CARTER:    I will do so now, if I may,

 14     Your Honor.

 15                 THE COURT:    You may.

 16                 MS. CARTER:    Thank you, Your Honor.

 17                              VOIR DIRE EXAMINATION

 18     BY MS. CARTER:

 19     Q.    Mr. Fort, you're not a medical doctor, are you?

 20     A.    No, ma'am, I'm not.

 21     Q.    You're not a psychiatrist, are you?

 22     A.    No.

 23     Q.    You're not a psychologist, are you?

 24     A.    No.

 25     Q.    You're not an expert on behavior, are you?



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   1    A.    No, I'm not.

   2    Q.    You're not an expert on memory, are you?

   3    A.    Not specifically, no.

   4    Q.    You're not an expert on how different people might

   5    perceive the same external stimuli, are you?

   6    A.    Only as it relates to the affect of alcohol, but

   7    certainly not in general, just related to alcohol.

   8    Q.    Now, with regards to your studies related to how

   9    different individuals might experience alcohol, were any of

 10     those conducted in conjunction with a psychiatrist?

 11     A.    No.

 12     Q.    Were any of those conducted in conjunction with a

 13     psychologist?

 14     A.    No.

 15     Q.    Were any of those conducted in conjunction with a

 16     medical doctor of any kind?

 17     A.    No.

 18     Q.    Were -- do you know what peer review is, Mr. Fort?

 19     A.    Surely.

 20     Q.    Can you tell us what it is?

 21     A.    Sure.   Peer review is actually just that.        The work that

 22     a particular category has done, and in my case it would be

 23     some type of some aspect of forensic alcohol, such as the

 24     studies that I have done, some aspect of drug or drug effect.

 25     But within that context, peer review means simply that other



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   1    individuals in your field have reviewed your work, have

   2    reviewed your material and provided comments, provided

   3    assistance, provided suggestions, and then ultimately that

   4    work would be perhaps changed somewhat based on suggestions

   5    or simply it would be commented on.         And within the

   6    peer-review arena, it may be personal review.          It may be, for

   7    example, the conferences that we go to, other colleagues

   8    reviewing your work which has certainly been true in my case

   9    or if a work is published, really in order for that work,

 10     that published work to I would say have more impact, if it's

 11     a peer-reviewed article, sometimes, though not always, there

 12     is more weight, I would say, that's given to the article then

 13     just a published article.

 14     Q.    Have any of your studies on how in wet labs been peer

 15     reviewed by any medical doctors?

 16     A.    I think the most important individual that's reviewed my

 17     work is a PhD toxicologist not a medical doctor.           We don't,

 18     in our field, we don't normally interact with medical

 19     doctors.

 20     Q.    So have any of your wet lab studies been peer reviewed

 21     by any medical doctors?

 22     A.    No.

 23     Q.    Have any of your wet lab studies been peer reviewed by

 24     any psychiatrist?

 25     A.    No.



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   1    Q.    Have any of your wet lab studies been peer reviewed by

   2    any psychologist?

   3    A.    No.

   4    Q.    Have any of your wet lab studies been peer reviewed by

   5    anyone who has any expertise on how the brain works?

   6    A.    Probably the only individual would be Dr. Marclen Burns.

   7    Q.    Is that the PhD toxicologist you previously referenced?

   8    A.    No, ma'am.

   9    Q.    Is Dr. Burns a medical doctor?

 10     A.    No.   She's a behavorial scientist.

 11     Q.    Is she an expert on how memory works?

 12     A.    Uh, within the alcohol context, yes.

 13     Q.    How many of your wet lab studies have been peer reviewed

 14     by her?

 15     A.    I think the only studies that she's reviewed were just a

 16     presentation that I did at a conference and then discussing

 17     that presentation.      She would not be the most significant

 18     reviewer of my material.

 19     Q.    The most significant reviewer of your material would be

 20     toxicologists; correct?

 21     A.    It's actually Dr. Wayne Jones, who is a PhD toxicologist

 22     and one of the leading research toxicologists referring to

 23     alcohol specialists.

 24     Q.    Now, a toxicologist, that's a specialist of chemistry;

 25     correct, not medicine?



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   1    A.    I don't -- I don't associate it with a specialty of

   2    chemistry.

   3    Q.    Well, would you associate it with any kind of medical

   4    specialty?

   5    A.    Toxicology is divided into fields of toxicology.

   6    Forensic toxicology, which would be the field that I've

   7    worked in is basically the only type of toxicology that I've

   8    been exposed to.

   9    Q.    Do you have any peer-reviewed publications in any

 10     medical journals?

 11     A.    I have -- none of my work has been published in

 12     journals.    Only published as abstracts that were

 13     presentations in colleges.

 14     Q.    You have no peer-reviewed publications on your wet lab

 15     studies; is that correct?

 16     A.    No published peer-reviewed articles, no.

 17     Q.    Now, in the informal peer review process that you've

 18     previously described, have you had any peer reviewed from

 19     opposing viewpoints to yours on your wet lab studies?

 20     A.    Opposing viewpoints only in the sense that probably the

 21     most valued toxicologists are also independent experts or

 22     independent toxicologists.       In other words, not favoring one

 23     particular category or another.

 24     Q.    When you say independent, do you mean working for a

 25     private practice firm like yours?



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   1    A.    No.   The individual I'm referring to Dr. Jones is

   2    actually associated with a hospital in Sweden, but he is

   3    very, very prolific author and presenter in the States and

   4    other countries as well, but he is associated with the

   5    hospital.

   6    Q.    And has he ever given you a review in this informal peer

   7    review context that you provide and expressed a viewpoint

   8    that was opposed to yours that you found in your wet lab

   9    studies?

 10     A.    No.   I believe quite to the contrary.

 11     Q.    And no one else has provided any opposing views to your

 12     wet lab studies either?

 13     A.    Only individuals at conferences that were not actually

 14     reviewing my material, but have commented on the format being

 15     less than what they would do or something like, but not a

 16     peer-reviewed critique, no, ma'am.

 17     Q.    Now, the bulk of your experience is in collecting and

 18     analyzing samples of bodily fluids; isn't that correct?

 19     A.    Not at all.    No, ma'am.

 20     Q.    Was that a primary part of what you did as a forensic

 21     chemist when you worked for the Ventura County Sheriff's

 22     Department?

 23     A.    Not really.    I mean probably during the day, a lot of my

 24     work would have to do with setting up samples and starting

 25     the process.     But I would tell you that the greater majority



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   1    of my working has been in the field either working at

   2    sobriety checkpoints, I've put in well over a thousand hours

   3    working in sobriety checkpoints.        And by working, I mean not

   4    just standing in the road and watching cars, but rather being

   5    a part of an evaluation, talking to the subjects that are

   6    being evaluated, sobriety evaluation.         And then also within

   7    that same tacit area, riding with law enforcement.           So again

   8    I have exposure to subjects that may or may not have used

   9    alcohol and having been affected by alcohol.          So I've got the

 10     real life experience as well as the lab experience of doing

 11     numerous controlled studies.       And then just on a routine

 12     basis, either myself or someone assisting me, would analyze

 13     body fluids for alcohol and other volatiles.

 14     Q.    Another large part of what you do relates to breath

 15     testing for alcohol; correct?

 16     A.    Within the context of managing a program when I worked

 17     at the laboratory, and then in the last 15 years more so

 18     providing training to law enforcement.         I certified them in

 19     the use of the preliminary breath testing equipment on the

 20     roadside and I actually started that program back in 1986.

 21     So a part of my activities does include not testing people,

 22     but rather training and certifying law enforcement and also

 23     attorneys because I teach through Ventura College or I did.

 24     Attorneys attend as well, but as an instructor that is part

 25     of my activities.



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   1    Q.    And when you provide this instruction, it's just on how

   2    to use the breath testing machinery; correct?

   3    A.    And specifically how to assess individuals for the

   4    affects of alcohol.      In other words, we go through an entire

   5    sobriety evaluation:      The interview, observation, field

   6    sobriety exercises and discussion.        And then as a separate

   7    category, I have the subjects that have been receiving the

   8    training, have those individuals do the tests they've been

   9    taught to do.     And then we collectively discuss the

 10     experience and talk about alcohol how it affects the

 11     individual and how those affects manifest.

 12     Q.    And those assessments are based on your experience in

 13     law enforcement in the field and your wet labs studies;

 14     correct?

 15     A.    No, ma'am, not at all.      I've never been a law

 16     enforcement person.      I've always been a civilian and I've

 17     never been in law enforcement, but really the value of what

 18     I've done anecdotically really assists in the research that I

 19     do.

 20                 MS. CARTER:    Objection.    Nonresponsive.     Move to

 21     strike the last part.

 22                 THE COURT:    The last part will be stricken.

 23     BY MS. CARTER:

 24     Q.    You said that you were not a law enforcement person, but

 25     you worked for 31 years in the crime lab of the Ventura



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   1    County Sheriff's Department?

   2    A.    I did, but --

   3    Q.    And isn't that where --

   4                 THE COURT:   Well, just a minute.      He hadn't

   5    finished his answer.      Go ahead and finish.

   6                 THE WITNESS:   Our laboratory was managed by a PhD

   7    criminalist and toxicologist right up until the last couple

   8    of years so I obviously had no choice and no control over how

   9    our crime laboratory interfaced with the law enforcement

 10     community.

 11     BY MS. CARTER:

 12     Q.    Your client as of at that time of the crime lab, though,

 13     was the Ventura County Sheriff's Department?

 14     A.    Pardon me?

 15     Q.    Your client, the crime lab's client was the Ventura

 16     County Sheriff's Department, wasn't it?

 17     A.    Our laboratory was under the auspices of the Ventura

 18     Sheriff and we received evidence from all agencies all law

 19     enforcement agencies in Ventura County as well as post-mortem

 20     samples from the Medical Examiner's Office.          So my

 21     responsibility would be to analyze the evidence that had been

 22     submitted in another part of our laboratory.

 23     Q.    And your assessments, your assessments of the affect of

 24     alcohol on various individuals comes from your field

 25     experience and your wet labs studies; correct?



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   1    A.    Not really.    I had attempted to answer that earlier, but

   2    my experiences anecdotally simply amplify the literature

   3    search and research that I do.        In other words, if I read

   4    something having to do with a particular behavior or a

   5    particular effect and in my anecdotal experiences control

   6    studies or in field studies, field experience I can see that

   7    same manifestation, it simply assists me in a better

   8    understanding of that particular issue.

   9    Q.    Your assessments are not based on any medical or

 10     psychological training of your own, are they?

 11     A.    No, ma'am.    I'm not a medical doctor or a psychologist

 12     or a psychiatrist, no.

 13     Q.    And your assessments are not based on any peer reviewed

 14     publications of your own, are they?

 15     A.    My assessments are certainly based in part on peer

 16     reviewed journals reviewing peer reviewed articles, but I

 17     have not published articles that were peer reviewed articles.

 18     They have been peer reviewed, but I haven't published them.

 19     Q.    And when you say they have been peer reviewed, you're

 20     talking about the informal process and the individual that

 21     you previously described; correct?

 22     A.    I'm talking specifically about taking a collection of my

 23     work to a conference, couple of conferences, and having

 24     individuals that are highly respected in our field reviewing

 25     that bulk of my work and commenting on it, on two or three



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   1    different occasions.       So to me that is definitely of value.

   2    Q.    And those people aren't psychiatrists, are they?

   3    A.    Dr. Jones is a PhD toxicologist.

   4    Q.    They're not psychiatrists, are they?

   5    A.    No.

   6    Q.    They're not neurologists, are they?

   7    A.    No.

   8    Q.    They're not psychologists, are they?

   9    A.    No.

 10     Q.    They are not medical doctors of any kind, are they?

 11     A.    I don't believe so, no.

 12     Q.    Mr. Fort, before a journal is published as a peer

 13     reviewed paper, they send it out for comments from experts

 14     with opposing viewpoints; isn't that correct?

 15     A.    Not the peer review process that I'm familiar with.

 16     Q.    None of your studies have ever been sent out by a

 17     journal to experts with opposing viewpoints for comments,

 18     have they?

 19     A.    No, not that I'm aware of.

 20                  MS. CARTER:    Thank you.   Your Honor, at this point

 21     the government move that this witness not be permitted to

 22     testify as an expert regarding the affect on memory or

 23     recollection or mental status of alcohol on individuals.

 24                  THE COURT:    You wish to be heard, Mr. Schwartz?

 25                  MR. SCHWARTZ:    Yes, Your Honor.     May I ask witness



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   1    more questions to lay more of a foundation?

   2                   THE COURT:   Go right ahead.

   3

   4                          DIRECT EXAMINATION (RESUMED)

   5    BY MR. SCHWARTZ:

   6    Q.      In your wet lab studies when you worked with the crime

   7    lab in Ventura County, had you actually studied the affects

   8    of alcohol on memory and perception with those subjects that

   9    participate in your wet lab?

 10     A.      Yes.

 11     Q.      How many times have you done that?

 12     A.      In all of the individuals that have been assessed within

 13     the alcohol context, both in the field and in wet labs and in

 14     the training I present, a part of that assessment has to do

 15     with the mental process in terms of simply interviewing the

 16     individuals and determining what the recall is compared to

 17     the actual data.

 18     Q.      And based on your training and experience is alcohol a

 19     drug?

 20     A.      It is, yes.

 21     Q.      What type?

 22     A.      Alcohol specifically is a central nervous system

 23     depressant.

 24     Q.      And have you had any kind of educational training or

 25     field training regarding specifically alcohol as a depressant



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   1    what effect it has on memory and perception?

   2                 THE COURT:   Well, why don't you break it up.        It's

   3    compound.

   4                 MR. SCHWARTZ:    Thank you, Your Honor.

   5    Q.    Have you had any training, start with educational

   6    training, about alcohol as a depressant as it relates to

   7    memory and perception?

   8    A.    Yes.    In my graduate program, pharmacology of substance

   9    abuse which was taught by a doctor from USC, and then a

 10     course, a graduate course in -- I can't remember the name of

 11     the course.     It was toxicology taught by Dr. Irvine from

 12     Riverside I believe.      But -- and then just the general

 13     criminalist courses.      I had three graduate courses in

 14     criminalistics and some part of those courses, because it

 15     deals with the entire field of criminalistics, some part of

 16     that training dealt with alcohol and the effects of alcohol

 17     and within the category of effect, what are the effects of

 18     alcohol and how are they manifest.

 19                  THE COURT:   The field work, if any.

 20                  MR. SCHWARTZ:    Thanks, Your Honor, for reminding

 21     me.

 22     Q.    And have you had any training with regard to your field

 23     work and how alcohol as a depressant would affect memory and

 24     perception in different individuals?

 25     A.    Yes.    Again, that would come from my direct contact with



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   1    the individuals or on occasion interviewing individuals

   2    simply to compare and account against more accurate data that

   3    we have.

   4    BY MR. SCHWARTZ:

   5    Q.    Have you had any training, background and experience

   6    educationally on how different levels of alcohol in the body

   7    would affect memory and perception?

   8    A.    Yes.

   9    Q.    Describe that, please.

 10     A.    Well, again, not only academic exposure and my graduate

 11     program in criminalistics, but also in reviewing the

 12     scientific articles that deal with all of the various aspects

 13     of alcohol affects and how they may relate to general

 14     behavior or to a specific behavior directed toward a

 15     particular task.

 16                  THE COURT:   Have you ever testified as an expert in

 17     either state court, well, let me ask you in state court

 18     regarding these kinds of matters?

 19                  THE WITNESS:   Other than state court?

 20                  THE COURT:   Well, have you testified in state court

 21     in this area?

 22                  THE WITNESS:   Oh, yes, sir.     I have been testifying

 23     about alcohol and the effects in state court, California.

 24                  THE COURT:   Have you testified in federal court?

 25                  THE WITNESS:   I believe I have, Your Honor, yes.



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   1                THE COURT:    Where?

   2                THE WITNESS:    In Los Angeles.

   3                THE COURT:    In the Central District of California.

   4                THE WITNESS:    I believe I have testified here.         I

   5    don't recall a specific case, but when I was coming in today

   6    I recognized this and the plays I had been in the past.

   7    Pretty sure, I've got testified here.

   8                THE COURT:    How recently?

   9                THE WITNESS:    It would have been several years ago.

 10                 THE COURT:    I think we can cut this short.       I'm

 11     going to deny the motion.       You may testify as a forensic

 12     toxicologist, and in the long run, ladies and gentlemen,

 13     you'll hear the final instructions that I give you.

 14                 When you deliberate, you'll decide how much weight

 15     you give to the testimony, if any.        So let's move on.

 16                 MR. SCHWARTZ:     Thank you, Your Honor.

 17                 And an individual with a weight of about 180 pounds

 18     with a blood alcohol level .22, would you expect that amount

 19     of alcohol in her system to effect her ability to remember

 20     accurately?

 21                 MS. CARTER:    Objection.    Vague and incomplete

 22     hypothetical.

 23                 THE COURT:    Well, that's overruled.      If you feel

 24     you have enough to pose an answer, you may do so.

 25                 THE WITNESS:    Sure.    At an alcohol level of .22, an



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                                                                              40


   1    individual's memory is definitely affected.          Various aspects

   2    of the memory are affected regardless of weight or gender or

   3    other factors that may come into play.

   4

   5    BY MR. SCHWARTZ:

   6    Q.    Based on your 40 plus years in both educational,

   7    background, training as well as your field training, would

   8    you expect a blood alcohol level with a .22 with that weight

   9    being able to affect that individual's ability to perceive

 10     reality?

 11                 MS. CARTER:      Objection.   It's vague.

 12                 THE COURT:    Sustained.

 13     BY MR. SCHWARTZ:

 14     Q.    Do you know how a .22 amount of alcohol in a person's

 15     bloodstream at a weight of 180 pounds for a female, do you

 16     know if that would have an affect on that individual's

 17     ability to perceive what's going around them realistically?

 18                 MS. CARTER:      Objection.   Vague.

 19                 THE COURT:    Yes.    Could we have some time factor

 20     with regard to an hour after consumption, a day after

 21     consumption, whatever.

 22                 MR. SCHWARTZ:      I'll try to break it down,

 23     Your Honor.     I'm sorry.

 24     BY MR. SCHWARTZ:

 25     Q.    Let me ask you this, Mr. Fort.        You've also in your



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   1    expertise been able to calculate a person's blood alcohol

   2    level based on reading at a given time and worked backwards;

   3    is that correct?

   4    A.    Yes.

   5    Q.    And you've also been able to extrapolate that reading to

   6    a future time on how much alcohol they would lose per hour;

   7    is that correct?

   8    A.    Yes.

   9    Q.    What's the average amount of alcohol that a person would

 10     lose per hour if no further consumption of alcohol is

 11     occurring in that hour?

 12     A.    An individual eliminates alcohol at a rate of about .02

 13     percent each hour.      Maybe a little less or maybe a little bit

 14     more, but on an average about .02 percent each hour.

 15                  THE COURT:   So it's regardless of the person's

 16     weight and height?

 17                  THE WITNESS:   Yes.   Those factors have to do with

 18     what alcohol level will be created.         In other words, if an

 19     individual at 200 pounds drinks five beers while reading

 20     compared to an individual at a 100 pounds, they would

 21     obviously get different alcohol levels.

 22                  But after their body expresses a certain blood

 23     alcohol level .10 or .20 or whatever, that alcohol is being

 24     eliminated at a pretty linear rate of about .02 per hour.

 25     It's a function of, the enzymatic function of the liver



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   1    primarily.     So you see that elimination curve until they get

   2    back down to zero.

   3                  THE COURT:    Go ahead.

   4    BY MR. SCHWARTZ:

   5    Q.    If an individual with a blood alcohol level .22 if that

   6    alcohol was drawn at a time of 4 o'clock in the afternoon,

   7    what would expect with no further consumption after the

   8    alcohol was drawn, what do you expect her alcohol to be at

   9    6:00 p.m.?

 10     A.    Okay.    I'm sorry.     Repeat that.

 11     Q.    Sure.    An individual whose blood alcohol was taken at

 12     4 o'clock in the afternoon and the level was .22, no further

 13     alcohol consumption.        What would you expect the blood alcohol

 14     level to be two hours later at 6:00 p.m.?

 15     A.    It would -- her alcohol levels would have dropped about

 16     .04 in those two hours.        So you would be looking at if you

 17     started with .22, a couple hours later it would be down to

 18     about .18.

 19     Q.    And based on your educational background and your

 20     in-field training experience, would a .18 alcohol level

 21     affect the individual's ability to perceive what's going an

 22     around them?

 23                   MS. CARTER:    Objection.   Vague.

 24                   THE COURT:    Sustained.

 25     BY MR. SCHWARTZ:



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   1    Q.    Would it affect your ability to perceive or listen to

   2    commands or directions?

   3    A.    It would adversely affect that entire process not only

   4    of the listening to directives, but the analysis of the

   5    directive and then a response to that directive, yes.

   6    Q.    And why is that?

   7    A.    It's specifically because of how alcohol affects the

   8    brain in the nervous system.       The effect is from front to the

   9    back of the brain which means that the smart part of the

 10     brain and the mental processes are affected long before we

 11     see the more common effects that we associate with alcohol

 12     with being clumsy or staggering or that sort of thing.

 13                 So within this mental context, the adverse affect

 14     of the alcohol, you had a whole -- a large number of factors

 15     that are being adversely affected not just an isolated

 16     factor, but a collection of factors are being adversely

 17     affected.

 18     Q.    And if an individual had a blood draw of .22 blood

 19     alcohol at 5 o'clock in the afternoon, with no further

 20     alcohol consumption, what would you expect their level to be

 21     at 6 o'clock?

 22     A.    They had a blood draw at 5 o'clock of .22?

 23     Q.    Correct.

 24     A.    At 6 o'clock it would be down to about .20.

 25     Q.    Now, you noted a few moments ago that the effects of



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   1    alcohol in the system begin really in the brain and how the

   2    brain works, but they don't manifest physically until after

   3    they've already manifested in the brain; is that correct?

   4    A.    Right.    Alcohol works from the front to the back from

   5    the more sophisticated to the primitive part of your brain

   6    which controls balance and coordination.

   7    Q.    Based on your educational background, experience and

   8    also your time in the field, is there a level of alcohol

   9    generally speaking where you start seeing the effects on the

 10     part of the brain you talked about?

 11                 MS. CARTER:    Objection.    Vague.    See the effects.

 12                 THE COURT:    Yes, that's --

 13     BY MR. SCHWARTZ:

 14     Q.    Is there a front part of the brain or is there a level

 15     in the system generally speaking where you expect to see the

 16     effects mentally on an individual before you see them

 17     manifesting physically?

 18                 MS. CARTER:    Objection.    It's still vague.

 19                 THE COURT:    Do you understand the question?

 20                 THE WITNESS:    Yes, I did.

 21                 THE COURT:    Overruled.

 22                 THE WITNESS:    There really isn't a specific number

 23     or a specific level, because as I think it was mentioned,

 24     there's the effect, and then eventually, you will see a

 25     manifestation of the effect.       But that's really determined by



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   1    the circumstances and the individual's drinking habits or

   2    experience with alcohol.

   3                In other words, if you had an individual that very

   4    rarely drinks, only has a drink say on a birthday or

   5    anniversary, we would see the effect on the front part of the

   6    brain at a very low level.

   7                With a more accomplished drinker, there would be an

   8    effect, but the manifestation of it would be at a higher

   9    level in terms of learned behavior starting to deteriorate in

 10     the individual's behaving in a somewhat more conspicuous

 11     manner.

 12                 MR. SCHWARTZ:     May I have a just a moment,

 13     Your Honor?

 14                 THE COURT:    Of course.

 15     BY MR. SCHWARTZ:

 16     Q.    Mr. Fort, based on your experience, what is the legal

 17     limit for an alcohol level in the blood for a person to be

 18     allowed to drive a car in the State of California?

 19     A.    The statutory violation is at .08, decimal level eight

 20     percent.

 21     Q.    And have you testified as an expert regarding your

 22     opinion about whether or not a person would be considered to

 23     be impaired to drive in California based on the facts given

 24     to you by counsel at trial?

 25     A.    Well over a thousand times, yes.



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   1    Q.    And based on your experience, would you expect to see

   2    some form of manifestation of impairment, for instance

   3    driving, at that level?

   4    A.    If the individual is actually subjected to that legal

   5    process, I would anticipate outward manifestations of the

   6    effect, yes.

   7    Q.    Why is that?

   8    A.    If the effects were not evident, in all likelihood the

   9    individual, unless an actual alcohol measurement was taken,

 10     the individual would not be detected in terms of effect.

 11                  MR. SCHWARTZ:    Nothing further at this time,

 12     Your Honor.

 13                  THE COURT:   Cross-examination, Ms. Carter.

 14                               CROSS-EXAMINATION

 15     BY MS. CARTER:

 16     Q.    Mr. Fort, you testified before in my voir dire of you

 17     that there was a data curve on how alcohol is absorbed and

 18     eliminated by the body; isn't that correct?

 19     A.    Yes.

 20     Q.    Now, the data curve means that not everybody who you

 21     look at either in your tests or in your field work absorbs

 22     alcohol the same; correct?

 23     A.    That's evidenced by the data that's expressed by means

 24     of a curve.

 25     Q.    The reason there is a curve, isn't there, because



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   1    different people have different results for having absorbed

   2    alcohol so they'll fall in a different place along a curve;

   3    correct?

   4    A.    The time it takes for the alcohol to be absorbed, the

   5    eventual alcohol reading, all of that will be evidenced by a

   6    blood alcohol curve.      How the alcohol is eliminated is also a

   7    part of the curve.

   8    Q.    The fact that there is a curve means that different

   9    individuals absorb alcohol differently; correct?

 10     A.    It's absorbed in the same way, but it's absorbed at

 11     different rates depending on a large number of factors.

 12     Q.    It takes different people different amounts of time to

 13     absorb alcohol; correct?

 14     A.    Yes.

 15     Q.    And that's why you see a data curve; correct?

 16     A.    It's expressed, it can be expressed in that way, yes.

 17     Q.    And otherwise everyone would just fall in the same place

 18     and it would just be a point or line on a graph instead of a

 19     curve on the graph; correct?

 20     A.    If everybody was the same, you wouldn't have to study it

 21     I suppose.

 22     Q.    And people all eliminate alcohol at different rates as

 23     well, don't they?

 24     A.    That's a much more restricted physiological process

 25     because it's enzymatically driven.        It's driven by ADH or



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   1    alcohol dyhdrogenayse, so because of that elimination

   2    process, that's why we can say persons eliminate or burn off

   3    alcohol at a rate of about .02, maybe a little bit lower.

   4    Some individuals, if they have more experience with alcohol,

   5    another enzyme system kicks in so it's a little bit higher,

   6    but as a rule of thumb or an average about .02 an hour.

   7    Q.    So as you put it, more experienced drinkers or

   8    alcoholics would eliminate alcohol more quickly; correct?

   9    A.    If they have the additional enzyme that comes into play

 10     as they're actively using alcohol, you can see an elimination

 11     rate maybe in the range of .03 perhaps.         Every once in awhile

 12     you run into someone at .04 an hour, and then as soon as

 13     they're deprived of the alcohol, that system goes away and

 14     just ADH is affected.

 15     Q.    So more experienced drinkers or alcoholics on average

 16     eliminate alcohol from their system faster, don't they?

 17     A.    If that additional enzyme system is active.

 18     Q.    Which it is more likely to be with more a experienced

 19     drinker or alcoholic; correct?

 20     A.    Not necessarily.     You can be an alcoholic and not abuse

 21     alcohol to the extent, but if you're acutely using alcohol

 22     and saturating the system, basically, what comes into play

 23     the ADH needs help in ridding the body of that material of

 24     that toxic substance so other the enzyme system helps out.

 25     Then when the alcohol exposure is eliminated, then that



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   1    system becomes inactive.

   2    Q.     Heavy drinkers eliminate alcohol more quickly on

   3    average, don't they, because of this extra system that you

   4    have been describing?

   5    A.     Heavy drinker as that would describe acute exposure to a

   6    large amount of alcohol with time and it's actually a pretty

   7    short period of time, you will see a higher elimination rate

   8    maybe .03 or .04 per hour, yes.

   9    Q.     Now, the defendant in this case is paying you to testify

 10     here today, isn't he?

 11     A.     I have been retained by Mr. Schwartz's law firm.

 12     Q.     And he's paying you, the defense counsel is paying you

 13     to testify today; correct?

 14     A.     Certainly hasn't bought my testimony, but he is paying

 15     for my time, consulting time and also my appearance at court,

 16     yes.

 17     Q.     What's your hourly rate for consulting time?

 18     A.     Hourly rate for consulting is 175 an hour.

 19     Q.     What's your hourly rate for court time?

 20     A.     The court appearance is billed at a flat rate of 1500

 21     per day.

 22     Q.     Now, when the defense asked you to testify, they gave

 23     you some materials related to a woman named Angelica Vargas;

 24     correct?

 25     A.     Yes.



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   1    Q.    In preparing for your testimony today, however, you

   2    didn't interview Angelica Vargas, did you?

   3    A.    No, I didn't.

   4    Q.    You didn't see Angelica Vargas on the night of

   5    February 25th, 2005, did you?

   6    A.    No, I didn't.

   7    Q.    You didn't observe her ability to follow instructions or

   8    commands, did you?

   9    A.    No, I didn't.

 10     Q.    You didn't observe any of the things that she observed

 11     on February 25th, 2005, did you?

 12     A.    No.

 13     Q.    And you didn't interview her to determine what it was

 14     that she perceived about what happened to her on

 15     February 25th, 2005, did you?

 16     A.    No.

 17     Q.    The only information that you have about February 25,

 18     2005 is what the defense gave you; correct?

 19     A.    That's correct, yes.

 20     Q.    You don't know what Ms. Vargas's -- you don't know when

 21     Ms. Vargas' blood was drawn, do you?

 22     A.    I believe so, yes.

 23                 MS. CARTER:    May I have permission to publish

 24     Exhibit 57 for the jury and the witness?

 25                 THE COURT:    Go right ahead.     You may.



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   1                 MS. CARTER:   One moment.    May I just have a moment

   2    before that exhibit comes up?

   3                 THE COURT:    Yes.

   4                 MS. CARTER:   I would first like to publish for the

   5    jury and the witness Exhibit 49 which is in evidence.

   6                 THE COURT:    Very well.

   7                 MS. CARTER:   Could you please highlight under

   8    specimen day and time taken.

   9    Q.     Was Exhibit 49 shown to you by the defense in

 10     preparation for your testimony today?

 11     A.     Yes, it was.    I have that in my materials here.

 12     Q.     And it's because of this document, isn't it, that you

 13     say that you have some knowledge of when Ms. Vargas' blood

 14     was drawn; correct?

 15     A.     It has the time of 16:59 on that document, yes.

 16     Q.     That was the time defense gave you for when Ms. Vargas'

 17     blood was drawn; correct?

 18     A.     No.   That's a published forensic alcohol report from

 19     Bio-Tox Lab and it's authored by Maureen Black, so it's not

 20     something that was created by the defense.

 21     Q.     This is what the defense gave you to tell you when

 22     Ms. Vargas' blood was taken; correct?

 23     A.     I received documents in the materials I was to review,

 24     yes.

 25                  MS. CARTER:   May I now publish for the witness and



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   1    the jury Exhibit 57, please?

   2                THE COURT:    Go right ahead.

   3    BY MS. CARTER:

   4    Q.    And can you please highlight the middle portion of the

   5    page that has horizontal lines on it.         The defense didn't

   6    show you Exhibit 57, which has a time of 1600 on 2-25-05 for

   7    a blood sample from Angelica Vargas, didn't it?

   8                MR. SCHWARTZ:     Counsel is reading the document.

   9    Timeline is subject to interpretation.

 10                 MS. CARTER:    This document is in evidence.

 11                 THE COURT:    You can rephrase your question.

 12     BY MS. CARTER:

 13     Q.    The defense didn't show you Exhibit 57, which has a date

 14     of February 25th, 2005, a time of 1600 and a description of

 15     property blood sample for Angelica Vargas, did they?

 16                 MR. SCHWARTZ:     Same objection.

 17                 THE COURT:    That objection is overruled.

 18                 THE WITNESS:    I have that document in my materials,

 19     yes, ma'am.

 20     BY MS. CARTER:

 21     Q.    And the time on this is different, isn't it, than the

 22     time on the Biotox report?

 23     A.    It's very poorly written time and I'm not sure what it

 24     refers to, but it does appear to be -- I don't know it's 16

 25     and then what looks like a W that could be interpreted as two



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   1    zeros.

   2                MS. CARTER:    I would now like to publish for the

   3    jury and the witness Exhibit 56 which is in evidence.

   4                THE COURT:    Go right ahead.

   5                MS. CARTER:    And specifically 2, and if you could

   6    highlight the top one-quarter of the page.

   7    Q.    Defense didn't show you Exhibit 56, did they, which

   8    shows several entries in early March 2005 related to a blood

   9    sample?

 10     A.    I don't believe I was given that chain of custody

 11     document to review, no.

 12     Q.    You can please clear the exhibit.        Can a person who has

 13     blood alcohol level of between .16 and .22 have a more

 14     accurate recollection of events than someone who is

 15     deliberately lying?

 16     A.    I can't answer that question.

 17     Q.    Can a person who has blood alcohol level of between

 18     point .22 and .16 have a better recollection of events than

 19     someone who is deliberately hiding facts?

 20                 MR. SCHWARTZ:     Objection, Your Honor.      Speculation,

 21     vague, relevance.

 22                 THE COURT:    Sustained.

 23     BY MS. CARTER:

 24     Q.    Do you recall previously testifying that alcohol can

 25     eventually impair someone's mobility?



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   1    A.    Yes, it does.

   2    Q.    Can a blood alcohol level of between .16 and .22 make

   3    someone so drunk that they couldn't stand on their own?

   4    A.    It certainly can if you're not a very experienced

   5    drinker.

   6    Q.    Can a blood alcohol level of between .16 and .22 make

   7    someone so drunk that they can't run on their own?

   8    A.    It certainly could, yes.

   9    Q.    Now, in preparing for your testimony today, the defense

 10     didn't ask you about the affects of blood alcohol level on

 11     mobility, did they?

 12     A.    Uh, yes.    Not -- not specifically to address that

 13     mobility as such, but to address the effect of alcohol on the

 14     individual's, Ms. Vargas' behavior, yes.

 15     Q.    The defense didn't want you to address the effects of

 16     alcohol on Ms. Vargas's mobility, did they?

 17     A.    I believe that's an incorrect statement.

 18                  THE COURT:   Well, it's supposed to be a question so

 19     answer it.

 20                  THE WITNESS:   Okay.    There was no directive of that

 21     nature.

 22     BY MS. CARTER:

 23     Q.    The defense didn't ask you about the effects of alcohol

 24     on Ms. Vargas' mobility, did they?

 25     A.    Yes, they did.



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   1    Q.      They didn't ask you about it on direct examination, did

   2    they?

   3    A.      I believe that was discussed in my consultations with

   4    Mr. Schwartz.

   5                  THE COURT:   Well, I don't believe that was the

   6    question.     Would you ask it again, please.

   7    BY MS. CARTER:

   8    Q.      The defense didn't ask you about the affect of alcohol

   9    on Ms. Vargas' mobility on direct examination, did they?

 10     A.      No.

 11     Q.      If someone had a blood alcohol level of .22, could not

 12     stand or walk on their own, would they be able to do so at a

 13     blood level of .20?

 14                   MR. SCHWARTZ:   Objection.    Vague.

 15                   THE COURT:   Sustained.

 16     BY MS. CARTER:

 17     Q.      If someone couldn't walk, you had previously described

 18     how alcohol might affect a person's ability to stand or walk

 19     on their own.     Do you recall that?

 20     A.      Within the context of the effect on the more primitive

 21     part of the brain, yes.

 22     Q.      And you testified that it could affect somebody's

 23     ability to stand or walk on their own depending on various

 24     factors, including whether someone was a heavy drinker;

 25     correct?



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   1    A.    Correct, yes.

   2    Q.    Now, if you knew that someone couldn't stand or walk on

   3    their own at a blood alcohol level of .22 percent, would they

   4    have impaired mobility at point -- is it likely that they

   5    would have impaired mobility when the blood alcohol in their

   6    system had dissipated to .20 or .18 percent?

   7    A.    Yes.

   8                 MS. CARTER:    May I have a moment, Your Honor?

   9                 THE COURT:    Yes.   Take your time.    Just be at ease,

 10     ladies and gentlemen.

 11                  MS. CARTER:    I have nothing further, Your Honor.

 12                  THE COURT:    Redirect.

 13                  MR. SCHWARTZ:    Yes, Your Honor.     Thank you.

 14                               REDIRECT EXAMINATION

 15     BY MR. SCHWARTZ:

 16     Q.    Mr. Fort, counsel just asked you several questions about

 17     the effects of alcohol on mobility.         Do you recall that?

 18     A.    Yes.

 19     Q.    And she asked you if you would expect first of all, she

 20     asked you whether we discussed the effects of alcohol on

 21     Ms. Vargas specifically and mobility.         Do you remember that?

 22     A.    Yes.

 23     Q.    That was discussed, wasn't it?

 24     A.    It was.

 25     Q.    And to be able to have a determination about the alcohol



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   1    level affecting an individual's mobility, would you have to

   2    know as an expert that individual's history of alcohol

   3    consumption?

   4    A.    Be very helpful, yes.

   5    Q.    Not just recent history, but overall what their normal

   6    consumption would be over the course of their life?

   7    A.    Yes.

   8    Q.    Basically in the colloquial as counsel used --

   9                 THE COURT:    Well, this is leading.

 10     BY MR. SCHWARTZ:

 11     Q.    You would have to know if they were a heavy drinker or a

 12     light drinker?

 13                  MS. CARTER:   Objection.    Leading.

 14                  THE COURT:    It's compound so ask it again.

 15                  MR. SCHWARTZ:    That's fine, Your Honor.

 16     Q.    The levels that counsel asked you to address, do you

 17     recall she asked you to address if a person would have -- if

 18     a person had a .2 and had a problem standing was the first

 19     part of her question.      Do you recall that?

 20     A.    Yes.

 21     Q.    Now, have you witnessed people at those levels

 22     physically driving a car?

 23     A.    Surely.

 24     Q.    Have you witnessed people at .22 or even greater running

 25     in your training in the field?



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   1    A.     I have.

   2    Q.     Have you witnessed people at .20 or greater driving a

   3    car?

   4    A.     Yes.

   5    Q.     And also having some form of mobility of running, so to

   6    speak, have you witnessed that at those levels?

   7    A.     Yes.

   8    Q.     And you noted that the alcohol begins to manifest itself

   9    in the front part of the brain, which is the thinking part of

 10     the brain; correct?

 11                   THE COURT:    Well, you can ask him if it's correct.

 12     BY MR. SCHWARTZ:

 13     Q.     Does alcohol manifest itself in the front part of the

 14     brain before it manifests itself in the back part of the

 15     brain?

 16                   MS. CARTER:    Objection.   Leading.

 17                   THE COURT:    Well, it's overruled.    You can answer.

 18                   THE WITNESS:    Yes.

 19     BY MR. SCHWARTZ:

 20     Q.     Which is part is the part that deals with mobility and

 21     motor functions in your experience, the front or the back?

 22     A.     Back, the more primitive part.

 23     Q.     Counsel asked you if you recall the question, if a

 24     person was at .22 blood alcohol level and could not stand or

 25     walk on their own.      Do you recall that question?



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   1    A.    Yes.

   2    Q.    And would that be something that would be common based

   3    on your experience based on that blood alcohol level?

   4    A.    Yes.

   5    Q.    Would the fact that person was in a traffic collision

   6    just prior to not being able to walk on her own, would that

   7    be a factor about a person's mobility?

   8                 MS. CARTER:    Objection.   Calls for speculation.

   9                 THE COURT:    Sustained.

 10     BY MR. SCHWARTZ:

 11     Q.    Would there be a difference between how an alcohol level

 12     such as .22 or .20 would affect somebody who is considered a

 13     heavy drinker in their motor functions and motor skills as

 14     compared to somebody who is not a heavy drinker?

 15                  MS. CARTER:    Objection.   Vague and also asked and

 16     answered.

 17                  THE COURT:    It's overruled.    If you understand the

 18     question, you can answer it.

 19                  THE WITNESS:    Yes.

 20     BY MR. SCHWARTZ:

 21     Q.    What would be the differences you would expect to see?

 22     A.    Individuals that have more experience with alcohol,

 23     would manifest the effect of alcohol much less, the outward

 24     manifestation because of accommodation or adaptation.            A

 25     novice or a social drinker or an inexperienced drinker in the



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   1    range around .20, probably wouldn't be interacting.

   2                 THE COURT:    Well, is that the same conclusion you

   3    would reach with regard to whether that person who is a heavy

   4    drinker would be able to follow commands or not?

   5                 THE WITNESS:     The adaptation has more to do with

   6    the physical manifestation, but alcohol adversely affects

   7    mental as well as physical.       In other words, it doesn't make

   8    you smarter.       It just makes the effect of alcohol outwardly

   9    more evident in terms of balance and coordination and so on,

 10     but it doesn't improve judgment, information processing,

 11     comprehension and so forth.

 12                  THE COURT:    Go ahead.

 13     BY MR. SCHWARTZ:

 14     Q.      Based on the Court's question, it does not improve

 15     judgment and mental acuity, does it actually adversely affect

 16     that?

 17     A.      It does.

 18     Q.      And was there a difference in your studies about the

 19     higher the level, the more affects or adverse affects?

 20                  MS. CARTER:     Objection.   Vague.

 21                  THE COURT:    Sustained.

 22                  MR. SCHWARTZ:     Nothing further at this time,

 23     Your Honor.     Thank you.

 24                  THE COURT:    Something further?

 25                  MS. CARTER:     Yes, Your Honor briefly.



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   1                               RECROSS-EXAMINATION

   2    BY MS. CARTER:

   3    Q.    You mentioned on redirect that it would be helpful to

   4    know the history of someone's alcohol consumption when

   5    assessing how alcohol might affect their mobility.           Do you

   6    recall that?

   7    A.    Yes.

   8    Q.    Wouldn't it also be helpful to know someone's history of

   9    alcohol consumption to assess how alcohol might affect their

 10     recollection of events or other mental functions?

 11     A.    Yes.

 12     Q.    Because a heavy experienced drinker would also manifest

 13     less impairment of recollection and mental functioning,

 14     wouldn't they?

 15     A.    They would not less mental factors, but less evidence of

 16     alcohol effect.     In other words, if the individual is

 17     observed, their behavior would not suggest as much the effect

 18     of alcohol, but their mental faculties would not be improved

 19     by that level of alcohol.

 20     Q.    They wouldn't manifest as much mental impairment, would

 21     they, as a less experienced drinker?

 22     A.    Maybe not manifest, but would the effect be as profound

 23     as a novice or inexperienced drinker, probably not.           But it

 24     would not be evidenced as such.

 25                  MS. CARTER:    Object and move to strike the last



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   1    portion as speculation.

   2                 THE COURT:    The last portion will be stricken.

   3    BY MS. CARTER:

   4    Q.      If you knew that someone was unable to walk or stand on

   5    their own at a .22 blood alcohol level, wouldn't that make it

   6    more likely that they would be unable to run at a blood

   7    alcohol level of .20 or .18 all else being equal?

   8    A.      If that diminished behavior was due to alcohol effect, a

   9    lessening of one or two points would not remove that effect.

 10     It would be basically the same.

 11                  MS. CARTER:    No further questions, Your Honor.

 12                  THE COURT:    Anything further of this witness?

 13                  MR. SCHWARTZ:    No.   Thank you, Your Honor.

 14                  THE COURT:    Thank you.   You are excused, sir.

 15                  THE WITNESS:    Thank you, Your Honor.

 16                  THE COURT:    We'll take a morning recess at this

 17     time.    Everyone please rise.

 18                                (Jury not present.)

 19                  THE COURT:    Outside the presence of the jury.

 20                  Any matters any counsel wish to take up at this

 21     time?    If not, take about ten minutes.

 22                  MR. SCHWARTZ:    Thank you, Your Honor.

 23                                 (Recess taken.)

 24                  THE COURT:    We're again outside the presence of the

 25     jury.    Any matters that any counsel wish to raise?         Hearing



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   1    none, we'll bring the jury back.        Next witness, Mr. Schwartz.

   2    Who is that?

   3                MR. SCHWARTZ:     Andrew Hinz.

   4                THE COURT:    Please be seated, ladies and gentlemen.

   5                We'll continue with the defense.

   6                Sir, would you come forward to be sworn.         Right up

   7    on the witness stand, please.

   8                THE CLERK:    Please raise your right hand.

   9                               (Witness sworn.)

 10                 THE CLERK:    Please have a seat.      State and spell

 11     your name for the record.

 12                 THE WITNESS:    Andrew Fredrick Hinz H-i-n-z.

 13                 THE COURT:    Go ahead, please.

 14                 MR. SCHWARTZ:     Thank you, Your Honor.

 15                               DIRECT EXAMINATION

 16     BY MR. SCHWARTZ:

 17     Q.    Good morning, sir.

 18     A.    Good morning.

 19     Q.    Are you employed?

 20     A.    No, I am not.

 21     Q.    And did you formerly work for Taser International?

 22     A.    Yes, I did.

 23     Q.    What years did you work for Taser International?

 24     A.    I worked for Taser International from January of 2004 to

 25     October of 2011.



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   1                   THE COURT:   Where do you reside, sir?     What city?

   2                   THE WITNESS:    Scottsdale, Arizona.

   3    BY MR. SCHWARTZ:

   4    Q.      Are you currently freelancing?

   5    A.      Uh, yes, consulting.

   6    Q.      You're self-employed?

   7    A.      Yes.

   8    Q.      And what was your assignment or job at Taser

   9    International during those years?

 10     A.      I was the Director of Medical and Technical Services.

 11     Q.      What did that entail?

 12     A.      Uh, that entailed I was the point of contact for

 13     taser-related investigations and then also coordinated the

 14     medical research internal and external for electronic control

 15     devices.

 16                    MR. SCHWARTZ:    And Your Honor, if counsel may read

 17     into the record a stipulation by both parties?

 18                    THE COURT:   Go right ahead.

 19                    MR. SCHWARTZ:    It's stipulation regarding

 20     Government's Exhibit No. 54.        United States of America and

 21     Defendant Anthony Sclafani hereby stipulate and agree that

 22     Government's Exhibit 54 is a Taser X-26 cartridge booked

 23     under the name Sclafani used on Angelica Vargas February 26,

 24     2005.    Contains the taser cartridge, probes and wire

 25     fragments inspected and analyzed by Andrew Hinz October 21st,



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   1    2010, and which are referenced in Government's Exhibits 88,

   2    89, and 90 and 91.      So stipulated.

   3                 THE COURT:   Is that the stipulation that the

   4    government agreed to?

   5                 MR. ARKOW:   Yes, Your Honor.

   6                 THE COURT:   It will be received.

   7                 MR. SCHWARTZ:    May I ask madam clerk to have placed

   8    in front of the witness Defense Exhibit 207?

   9                 THE COURT:   Certainly.

 10     BY MR. SCHWARTZ:

 11     Q.    If you could turn the notebook to Exhibit 207.

 12     A.    I'm there.

 13     Q.    And can you look at those pages of that part of the

 14     exhibit and let me know when you're done looking at them and

 15     if they're familiar to you?

 16     A.    I'm all set.

 17     Q.    Do you recognize what Defense Exhibit 207 is?

 18     A.    Yes, I do.

 19     Q.    What is it?

 20     A.    It's a report by done my concerning the probe analysis

 21     that was sent to me.

 22     Q.    And the probe analysis pursuant in this case are probes

 23     that were, I guess, discharged from a taser?

 24     A.    Yes.

 25     Q.    And could you describe what kind of analysis you did?



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   1    A.     Um, I used an optical microscope to look at the probe

   2    wire mount and also the probe air gap to determine if there

   3    was any physical changes associated with the discharge of the

   4    taser and to also estimate duration of that discharge if

   5    there was physical changes present.

   6    Q.     How could you do that?     How can you estimate the, I

   7    guess, lack of a better term, the amount of time of the

   8    discharge?

   9    A.     Um, based on samples that I received in training classes

 10     where probes are shot into human volunteers and generated a

 11     database to show different amounts of physical changes and

 12     then compare them to the discharge to the evidence which I am

 13     analyzing and then estimating the time.         If the circuit was

 14     completed and to estimate the time.

 15     Q.     And with those physical changes, there was a carbon

 16     build-up as well as melted insulation?

 17     A.     Yes.

 18                   MR. SCHWARTZ:   Your Honor, may I publish Defense

 19     207?

 20                   MR. ARKOW:   Objection, Your Honor.     It's not

 21     admitted and the government oppose its admission.           It's a

 22     hearsay document.

 23                   THE COURT:   Do you wish to be heard?

 24                   MR. SCHWARTZ:   Yes, Your Honor.     Shall I ask a few

 25     more questions?



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   1    Q.    Looking at the first page of 207, do you recognize what

   2    that page is?

   3    A.    Page 1?

   4    Q.    Yes.

   5    A.    Yes.

   6    Q.    What is that?

   7    A.    Uh, page 1 of 207 is my analysis of the taser probe, the

   8    address of who I'm making the report out to and my

   9    preliminary report cover page.

 10     Q.    How soon in time did you write the report when you made

 11     the analysis?

 12     A.    Um, I took the pictures on the 21st so that would have

 13     been the day that I took the pictures, and then within the

 14     next couple of days I wrote the report.

 15     Q.    And was that report written by you in the course and

 16     scope of your job as an analyst at Taser International?

 17     A.    Yes.

 18     Q.    Is it something that you have been trained to do?

 19     A.    Yes.

 20                  THE COURT:   Objection is overruled.      It may be

 21     received.

 22                  MR. SCHWARTZ:    Thank you, Your Honor.

 23                  MR. ARKOW:   It's still hearsay.

 24                  THE COURT:   It will be received.

 25                         (Exhibit 207 was admitted.)



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   1                 MR. ARKOW:   It's also prepared for litigation and

   2    it's inadmissible.

   3                 THE COURT:   All right.    You made your record.

   4                 MR. SCHWARTZ:    May I publish it, Your Honor,

   5    please?

   6                 THE COURT:   Go ahead.

   7    BY MR. SCHWARTZ:

   8    Q.    This is the report you just referenced a moment ago?

   9    A.    Yes.

 10     Q.    Now, in your analyzing of these particular probes, were

 11     you able to determine the amount of time that the actual

 12     taser or the probes were conducting electricity?

 13     A.    Based on the amount of physical changes, I estimated it

 14     was no less than two seconds and no greater than five

 15     seconds.

 16     Q.    For this particular set of probes.

 17     A.    For this particular set of probes.

 18     Q.    Now, would there be any change in the physicality of the

 19     probes as you just related if the probes were shot from a

 20     taser, but there was no closing of the circuit?

 21     A.    Can you rephrase that for me?

 22     Q.    Yes.   You mentioned a moment ago one of the things that

 23     you have to take into account is that there has to be a

 24     closing of the circuit when that taser was deployed; is that

 25     correct?



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   1    A.    Correct.

   2    Q.    What if probes shot were into individual and the circuit

   3    was not closed?     Would that affect a change in the

   4    physicality of the probes?

   5    A.    No.    There would be no, there would be little or none

   6    physical changes to the probes and the device would arc in

   7    front of the gun.      It wouldn't be conducting electricity down

   8    the range so it would arc in front of the device.

   9    Q.    And in your experience that arc makes a clicking sound;

 10     correct?

 11     A.    Correct.

 12     Q.    And if there was some change where one of the probes or

 13     both of the probes ended up having enough time to actually

 14     effectuate a closing of the circuit, would that then

 15     effectuate a change in the physicality of the probes?

 16     A.    Can you rephrase that?

 17     Q.    Sure.    If the probe -- if the probes are shot out of a

 18     taser and there was no closing of the circuit, but eventually

 19     the circuit was completed, would that completion effectuate a

 20     change in the probes physically?

 21     A.    Yes.

 22     Q.    You would expect to see a carbon build-up?

 23     A.    I would expect to see physical changes to the surface

 24     scoring, pitting, carbon buildup on the surface, melting of

 25     the installation on the wire.



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   1    Q.    Those are things you saw in this case; correct?

   2    A.    Correct.

   3    Q.    And you were able to determine or quantify the amount of

   4    time that electricity flowed through based on those different

   5    factors?

   6    A.    When compared to the samples, yes.

   7    Q.    Now, if there were multiple activations of a taser with

   8    the same set of probes, would you be able to determine which

   9    activation actually had the circuit closed?

 10     A.    No, I would not.

 11     Q.    So based on this test, you could determine at least one

 12     had been a closed circuit?

 13                  THE COURT:   That's leading.

 14                  MR. SCHWARTZ:    Thank you, Your Honor.

 15     Q.    From this test you determined if there was even more

 16     than one activation of the taser probes?

 17     A.    Can you repeat the question?

 18     Q.    From the testing you did in this case, could you

 19     determine if there's more than one activation based on your

 20     tests?

 21     A.    Yes.

 22     Q.    Those activations not a closing circuit, just the fact

 23     that the probes were shot and there was an activation, could

 24     you tell that?

 25     A.    Yes.



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   1    Q.    What could you tell?

   2    A.    I could tell that there was one circuit that was

   3    completed of between no less than two seconds and no greater

   4    than five seconds.

   5    Q.    Could you tell that -- strike that.        You could tell one

   6    circuit was completed; correct?

   7    A.    Yes.

   8    Q.    Could you tell if that -- other activations were not

   9    completed circuits?

 10     A.    No.    I could only see that there was one completed

 11     circuit through those probes.

 12                  MR. SCHWARTZ:    Have just a moment, please

 13     Your Honor?

 14                  THE COURT:   Of course.

 15                  MR. SCHWARTZ:    Nothing further at this time,

 16     Your Honor.

 17                  THE COURT:   Cross-examination, Mr. Arkow.

 18                               CROSS-EXAMINATION

 19     BY MR. ARKOW:

 20     Q.    Your inspection of the taser probes that were shot by

 21     Defendant Sclafani's taser concluded that those probes

 22     completed an electrical circuit in the target where the

 23     probes struck; is that correct?

 24     A.    Can you rephrase that?

 25     Q.    Your inspection of the taser probes, that's Government's



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   1    Exhibit 54, Defendant Sclafani's taser probe, your inspection

   2    concluded that those taser probes if they struck an

   3    individual, completed an electrical circuit through that

   4    individual's body?

   5    A.      Yes.

   6    Q.      And that means that electricity flowed from Defendant

   7    Sclafani's taser gun through the wire through the probe

   8    through the person's body and then out through the other

   9    probe in the person's body through the wire for a complete

 10     electrical circuit?

 11     A.      Yes.

 12     Q.      And that means that the taser shocked that person's

 13     body.

 14                    THE COURT:   Are you asking?

 15                    MR. ARKOW:   What?

 16                    THE COURT:   Are you asking?

 17     BY MR. ARKOW:

 18     Q.      Does that mean that the taser probe from Defendant

 19     Sclafani's taser shocked that person's body?

 20     A.      Yes.

 21     Q.      That means that -- does that mean that there was an

 22     electrical circuit, an electricity went through the taser

 23     probes through that person's body?

 24     A.      Yes.

 25     Q.      Are you familiar with the term neuromuscular



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   1    incapacitation?

   2    A.    Yes.

   3    Q.    Can you explain to the jury what that refers to?

   4    A.    Neuromuscular incapacitation is that the taser produces

   5    19 pulses per second of a particular wave form and the device

   6    fires for five seconds.       So once the circuit is completed, it

   7    essentially tells that muscle group to turn on and off 19

   8    times within that one second or for the default five-second

   9    firing, which then results in what is called NMI.           It looks

 10     like the muscle is frozen and then results in incapacitation.

 11     Q.    Given your inspection of the Defendant Sclafani's taser

 12     probe, does that mean the person whose body was struck by

 13     these taser probes was subject to the effect of this

 14     neuromuscular incapacitation?

 15     A.    No.

 16     Q.    What would determine whether the person would suffer the

 17     neuromuscular incapacitation?

 18     A.    It would have to -- it would have to be determined by

 19     the amount of spread between those probes and the location in

 20     the body where the probes impacted.

 21     Q.    And if the spread was a certain distance, then the

 22     person would be subject to neuromuscular incapacitation;

 23     right?

 24     A.    Yes.

 25     Q.    What is that distance?



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   1    A.    Uh, that is greater than 12 inches or more.

   2    Q.    And if the distance was 12 inches or less and the person

   3    was struck by the probes, the person would still feel the

   4    pain of the taser?

   5    A.    Yes.

   6    Q.    And that pain that the person would feel whose body is

   7    struck by the probes would be equivalent to the pain the

   8    person would feel if the taser was used in the drive stun

   9    mode on the person's body; correct?

 10                  MR. SCHWARTZ:    Objection.    Misstates the evidence.

 11                  THE COURT:   Overruled.    You may answer.

 12                  THE WITNESS:    From my personal experience, yes.

 13     BY MR. ARKOW:

 14     Q.    And that's painful?

 15     A.    Yes.

 16     Q.    Other than this one taser probe of Defendant Sclafani,

 17     Government Exhibit 54, were you provided any other taser

 18     probes to analyze for determining whether or not an

 19     electrical -- whether there was a taser shot?

 20     A.    I was just provided with these two probes and the two

 21     wire housings.

 22     Q.    Do you have any knowledge whether Defendant Sclafani

 23     used any other taser probes in connection with any

 24     activation?

 25     A.    No knowledge.



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   1                 MR. ARKOW:   May I have a moment, Your Honor?

   2                 THE COURT:   Of course.

   3    BY MR. ARKOW:

   4    Q.    And the taser probes that you analyzed were two taser

   5    probes; correct?

   6    A.    Yes.

   7    Q.    And two taser probes relate to one cartridge?

   8    A.    Yes.

   9    Q.    Each cartridge, each taser deployment projects two taser

 10     probes into the air into the person?

 11     A.    Yes.

 12     Q.    And if Defendant Sclafani used a second cartridge and

 13     shot it at a person, it would be possible that the person

 14     would feel additional taser shocks?

 15                  MR. SCHWARTZ:    Objection.    Speculation.    Lack of

 16     foundation.

 17                  THE COURT:   Sustained.    You can ask if he knows.

 18     BY MR. ARKOW:

 19     Q.    Do you know if Defendant Sclafani used a second taser

 20     cartridge and shot the tasers at a person would the person

 21     feel additional taser shocks based on that shock?

 22                  MR. SCHWARTZ:    Objection.    Speculation.    Also

 23     improper hypothetical.

 24                  THE COURT:   Overruled.    You may answer if you can.

 25                  THE WITNESS:    It's not enough information for me.



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   1    Can you rephrase the question because it seems to be two

   2    different questions?

   3    BY MR. ARKOW:

   4    Q.    If Defendant Sclafani used another taser probe to shoot

   5    at a person and that circuit was completed, would that person

   6    feel an additional taser shock beyond the probe that you

   7    analyzed?

   8    A.    Yes.

   9                 MR. ARKOW:    Could I have one moment?

 10                  No further questions.

 11                  THE COURT:    Anything further of this witness?

 12                  MR. SCHWARTZ:    Yes.

 13                               REDIRECT EXAMINATION

 14     BY MR. SCHWARTZ:

 15     Q.    The taser probes you analyzed were provide by the FBI;

 16     correct?

 17     A.    Correct.

 18     Q.    Based on your training, do you recall the question asked

 19     by counsel that you would expect there would have to be

 20     larger than a 12-inch spread of those probes on the body with

 21     proper contact for there to be a neuromuscular

 22     incapacitation?

 23     A.    Yes.

 24     Q.    If there was less than a 12-inch spread, would that

 25     effectuate based on your training a neuromuscular



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   1    incapacitation?

   2    A.    It could depending on the individual based on my

   3    experience and research that I have assisted in.

   4    Q.    Would it also depend on where those probes were making

   5    contact to the body?

   6    A.    Yes.

   7    Q.    Would it also depend on how well each probe made

   8    contact?

   9    A.    Yes.

 10                  MR. SCHWARTZ:    Nothing further at this time.

 11                  THE COURT:   Anything further of this witness?

 12                  MR. ARKOW:   Nothing further from the government.

 13                  THE COURT:   All right.    Thank you, sir.     You are

 14     excused.

 15                  Would you come straight ahead.      Come straight up on

 16     the witness stand, sir.       Right here.    Yes, straight ahead.

 17     Right up on the witness stand, sir.

 18                  THE CLERK:   Please raise your right hand.

 19                               (Witness sworn.)

 20                  THE CLERK:   Please have a seat.      State and spell

 21     your name for the record.

 22                  THE WITNESS:    My name is Daniel Richard Tregarthen

 23     my last name is spelled T-r-e-g-a-r-t-h-e-n.

 24                  THE COURT:   Go ahead, Mr. Schwartz.

 25                  MR. SCHWARTZ:    Thank you.



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   1                              DIRECT EXAMINATION

   2    BY MR. SCHWARTZ:

   3    Q.    Mr. Tregarthen, are you employed?

   4    A.    I have my own business.

   5    Q.    What is that?

   6    A.    The name of the business is called Internal Affairs

   7    Connections, Incorporated.

   8    Q.    What do you do in relation to that business?          What is

   9    that business?

 10     A.    It's a firm that conducts personal investigations for

 11     public agencies and pre-employment background investigations

 12     for police and fire.

 13                 THE COURT:    Where are you located, sir?

 14                 THE WITNESS:     I currently work out of my house in

 15     Rancho Palos Verdes.

 16                 THE COURT:    Go ahead.

 17     BY MR. SCHWARTZ:

 18     Q.    And in regards to that business, what does that business

 19     entail?    What do you do?

 20     A.    Well, when the business initially started to conduct

 21     internal affairs investigations and provide consulting for

 22     police agencies in internal affairs investigations.

 23     Q.    And what about your background and experience, your

 24     training, I guess, would give you that kind of a background

 25     for that kind of business?



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   1    A.    I spent 23-and-a-half years with the Los Angeles Police

   2    Department.     I was promoted to sergeant in 1971.        In 1981 I

   3    transferred to Internal Affairs division as a complaint

   4    investigator.     It was a two-year assignment.       I was asked to

   5    stay past the two years and was given a tour without any

   6    restrictions as far as transferring out.         I became the

   7    training officer for Internal Affairs division.

   8                I would take the place of the lieutenants when they

   9    were gone for a long period of time and for a couple of days

 10     at a time, I was taking the place of one of the captains when

 11     they were gone.     In addition to that, I have a bachelor of

 12     science degree from Pepperdine University.

 13                 THE COURT:    In what field, sir?

 14                 THE WITNESS:    Public management.

 15                 When I left the Los Angeles Police Department, it

 16     was due to a back injury and I had some restrictions on what

 17     I could do.     There was an incident in Long Beach involving a

 18     motorist by the name of John Jackson and without getting

 19     into --

 20                 THE COURT:    No, sir.    Thank you.

 21                 THE WITNESS:    Long Beach hired me --

 22                 THE COURT:    No, sir.

 23

 24     BY MR. SCHWARTZ:

 25     Q.    And based on that background and experience, have you



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   1    had training in writing reports based on those interviews?

   2    A.    Yes, I've received training and I've provided training

   3    and I've written manuals on the subject.

   4    Q.    And were you contacted by Desert Hot Springs Police

   5    Department back in 2005 to conduct an Internal Affairs

   6    investigation?

   7    A.    Yes, I was.

   8    Q.    And in the case of the complaint of Mr. Jamal White, do

   9    you remember that?

 10     A.    Yes, sir.

 11     Q.    And the officer being investigated was that Police

 12     Sergeant Tony Sclafani?

 13     A.    Yes.

 14     Q.    Did you have a chance to interview Mr. Jamal White

 15     pursuant to that investigation?

 16     A.    There was a time when we met.       I tried to interview him.

 17     It wasn't completed.

 18     Q.    But did you have a chance to ask him questions about

 19     what his version of the events, he being Jamal White?

 20     A.    Yes.

 21     Q.    And was that tape recorded?

 22     A.    No.

 23     Q.    Why not?

 24     A.    He did not want to be tape recorded.

 25     Q.    Did you take notes?



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   1    A.    I took notes.

   2    Q.    And at some point from those notes did you make a

   3    report?

   4    A.    Yes, I did.

   5    Q.    And have you had a chance today to look over that report

   6    that you wrote a number of years ago?

   7    A.    Yes, sir.

   8    Q.    And do you recall if Mr. White told you how many times

   9    he had been tased on the night by client Tony Sclafani?

 10     A.    Yes, sir.

 11     Q.    How many times?

 12     A.    There were two different incidents when he was tased.

 13     One occurred on Ironwood and another one occurred at the jail

 14     or outside the jail.      I believe he told me he was tased twice

 15     on Ironwood, and then again when he was at the jail.

 16     Q.    Do you recall that specifically or would it refresh your

 17     recollection to look at the report?

 18     A.    I might need the report for that.

 19                 MS. CARTER:    Objection, Your Honor.      Move to strike

 20     the last answer as improper evidence under 804 B(1).            I'm

 21     sorry.    Under 801 as improper extrinsic evidence.

 22                 THE COURT:    Did you wish to offer anything,

 23     Mr. Schwartz?

 24                 MR. SCHWARTZ:     Yes, Your Honor.     It's not being

 25     offered for the truth of the matter asserted.          Merely



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   1    impeachment for multiple versions of the same event.

   2                 MS. CARTER:    Nevertheless, it's improper under 801

   3    D(1)(a).

   4                 THE COURT:    I'm gonna overrule the objection.       Go

   5    ahead.

   6                 MS. CARTER:    Your Honor, may I request that the

   7    jury be instructed this testimony is not being offered for

   8    the truth of the matter?

   9                 THE COURT:    Yes, it's not being offered for the

 10     truth of the matter.       Offered again for what reason?

 11                  MR. SCHWARTZ:    Multiple versions of the same event.

 12                  May counsel have the clerk give a copy of the

 13     report to Mr. Tregarthen.

 14                  THE COURT:    You may.

 15     BY MR. SCHWARTZ:

 16     Q.    Mr. Tregarthen, take a look, don't read anything out

 17     loud to the jury to familiarize yourself.          Let me know when

 18     you've had a chance to do that.

 19     A.    Yes, I have read that.

 20     Q.    And you recognize what that is?

 21     A.    This is the portions of the document that I created when

 22     I conducted the investigation on a complaint made by

 23     Mr. White.

 24                  THE COURT:    Is there a date?

 25                  THE WITNESS:    The date?   I submitted it on June 26,



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   1    2005.

   2    BY MR. SCHWARTZ:

   3    Q.      And you noted a moment earlier Mr. White had described

   4    to you being tased on Ironwood; is that correct, just for

   5    foundational purposes?

   6    A.      Could you repeat that, please?

   7    Q.      A moment earlier you noted that Mr. White had described

   8    to you being tased on Ironwood?

   9    A.      Yes, sir.

 10                    THE COURT:   Would you put that report aside now.

 11     You have read it.      Have you read it, sir?

 12                    THE WITNESS:   Yes, I have.

 13                    THE COURT:   Well, put it aside, please.

 14     BY MR. SCHWARTZ:

 15     Q.      And where on Ironwood did Mr. White, if you recall, tell

 16     you he had been tased, if you recall?

 17     A.      The first incident he said he was tased was in a police

 18     car and that was on Ironwood east of Palm Drive.           The second

 19     time he was tased was at the police station.

 20     Q.      And did Mr. White tell you how many times all together

 21     he remembered being tased?

 22     A.      I thought it was three times.

 23     Q.      Would it refresh your recollection to see your report?

 24     A.      Yes.

 25     Q.      Turn to the back page with the Post-It on it and read to



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   1    yourself and let me know when you had a chance to do so.

   2    A.    Okay.    I have read it.

   3    Q.    And does that refresh your memory about how many times

   4    Mr. White told you he had been tased all together that night?

   5    A.    Yes, it was three times.

   6    Q.    Based on your recollection first, did he seem to be sure

   7    about that or unsure?

   8    A.    He seemed certain about that.

   9                  MR. SCHWARTZ:   Just a moment Your Honor, please?

 10                   THE COURT:    You may.

 11                   MR. SCHWARTZ:   Nothing further at this time,

 12     Your Honor.

 13                   THE COURT:    All right.   Cross-examination,

 14     Ms. Carter.

 15                   MS. CARTER:   Thank you, Your Honor.

 16                                 CROSS-EXAMINATION

 17     BY MS. CARTER:

 18     Q.    The person named Anthony Sclafani that we have been

 19     referring to, do you know who that person is?

 20     A.    I'm having trouble hearing you, ma'am.

 21     Q.    Do you know who Anthony Sclafani is?

 22     A.    Yes, I do.

 23     Q.    You know him, don't you because you conducted

 24     investigations into complaints of excessive force against him

 25     by Jamal White and Angelica Vargas; correct?



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   1    A.      Yes, ma'am.

   2    Q.      And that was in April of 2005; correct?

   3    A.      Yes.

   4    Q.      Had you ever met Anthony Sclafani before that?

   5    A.      No, I had not.

   6    Q.      How would you characterize your current relationship

   7    with Anthony Sclafani?

   8    A.      Well, characterize I talked to him twice with regard to

   9    Internal Affairs cases as an accused, maybe some other times

 10     during that time period.       And then maybe about a year ago, I

 11     had a phone conversation with him.        Other than that, I can't

 12     really characterize my relationship with him because there is

 13     none.

 14     Q.      Now, the person that we're talking about Anthony

 15     Sclafani, do you see him sitting in the courtroom today?

 16     A.      Yes, ma'am.

 17     Q.      Can you describe for the jury what he is wearing and

 18     where he is sitting?

 19     A.      He is sitting on the -- at the defense counsel in the

 20     middle.    He is wearing either a black or navy blue suit.

 21                    THE COURT:   Indicating for the record the Defendant

 22     Sclafani.

 23

 24     BY MS. CARTER:

 25     Q.      Now, your telephone conversation with the defendant



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   1    about a year ago, defendant called you, didn't he?

   2    A.    Yes, ma'am.

   3    Q.    And he talked to you about this case, didn't he?

   4    A.    I don't think we talked the specifics of the cases.           He

   5    talked about that he was under investigation and maybe had

   6    been arraigned on some charges, but I doubt very seriously we

   7    would have talked about the particulars of the case.

   8    Q.    He called you and told you that he had been arraigned on

   9    charges in this case; correct?

 10     A.    Yes.

 11     Q.    What else did he tell you about the charges?

 12     A.    Only that it was involving some of the witnesses that I

 13     had interviewed on cases for Desert Hot Springs.

 14     Q.    Was that including Angelica Vargas and Jamal White?

 15     A.    I'm not sure if we talked about their names

 16     specifically.

 17     Q.    Did he reference those two complainants even if not

 18     specifically by name?

 19     A.    I believe so.

 20     Q.    What did he say to you about those two complainants?

 21     A.    I think the topic had to do with he had obtained legal

 22     counsel and that I would be receiving a phone call from

 23     either an attorney or investigator in his behalf and he

 24     wanted to know if I would cooperate.

 25     Q.    What did you tell him?



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   1    A.    I told him I would cooperate.

   2    Q.    Now, defendant also called you a couple of times during

   3    the FBI investigation that lead to this case, didn't he?

   4    A.    I believe there was only the one phone conversation.

   5    Q.    Did you meet with the FBI agents in October of 2011?

   6    A.    Did I talk to an agent in 2011?

   7                THE COURT:    Just a minute.     Is that what you asked?

   8                MS. CARTER:    I can rephrase.

   9                THE COURT:    Please.

 10     BY MS. CARTER:

 11     Q.    Did you meet with FBI agents and an Assistant United

 12     States Attorney at your residence in October of 2011?

 13     A.    Yes, I did.

 14     Q.    During that time didn't you tell the government that the

 15     defendant had called you a couple of times during the FBI

 16     investigation that lead to this case?

 17     A.    I don't have any recollection of Sclafani calling me

 18     other than that one time, and I don't have any recollection

 19     of telling the FBI investigators that he called me several

 20     times.

 21     Q.    Might it refresh your recollection to review a report of

 22     the interview that you had at your residence with the FBI and

 23     the U.S. Attorney's Office in October of 2011?

 24     A.    What was that?

 25     Q.    Do you think it might refresh your recollection if you



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   1    reviewed a report of the interview that was conducted in

   2    October of 2011 between yourself and FBI agents and the U.S.

   3    Attorney's Office?

   4    A.    It might, but I was not aware that there was a report.

   5                MS. CARTER:    Your Honor, may I show this report

   6    dated October 12, 2011 describing an interview on

   7    October 7th, 2011 to defense counsel and then to the witness?

   8                THE COURT:    Please.

   9                MS. CARTER:    And may I give it to your clerk?

 10                 THE COURT:    Certainly.

 11     BY MS. CARTER:

 12     Q.    Could you please turn to the second to last paragraph on

 13     the last page, page 4 of the report?         And let me know when

 14     you had a chance to read it yourself.

 15     A.    What paragraph am I reading?

 16     Q.    The second to the last paragraph on page 4 of the

 17     report.

 18     A.    I have read it.

 19     Q.    Does this refresh your recollection that defendant

 20     called you a couple of times during the FBI investigation

 21     that lead to this and stopped when he was indicted?

 22     A.    No.

 23     Q.    Does this refresh your recollection that defendant asked

 24     you what he should do during the investigation?

 25     A.    I don't know that I understand the question.



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   1    Q.    Did defendant call you during the investigation of this

   2    case and ask you what to do in this investigation?

   3    A.    I see it says in the report --

   4                THE COURT:    No.   Ask it again, please.

   5    BY MS. CARTER:

   6    Q.    Did defendant call you during the investigation of this

   7    case and ask you what he should do during this investigation?

   8    A.    I think that was something we my have discussed.           I

   9    don't think he specifically asked me what should I do.

 10     Q.    You had a discussion with him along those lines however?

 11     A.    Yes, I did.

 12     Q.    And that was during the investigation of this case?

 13     A.    Yes, and --

 14                 THE COURT:    Just a minute.     Are you having a

 15     problem, sir?

 16                 THE JUROR:    No, I'm listening.

 17                 THE WITNESS:    I don't know if the conversation took

 18     place during the investigation or after the indictment.

 19                 MS. CARTER:    May I retrieve the document?

 20     Q.    You gave the defendant some advice about what to do

 21     during the investigation, didn't you?

 22     A.    I thought it had more to do with courtroom demeanor.

 23     Q.    You were sympathetic to him when you got his inquiries,

 24     weren't you?

 25     A.    I don't know that sympathetic would be the appropriate



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   1    term.

   2    Q.      You weren't sympathetic to Jamal White, were you?

   3    A.      I'm not sure that it applies in the relationship that I

   4    would have had with a witness or complainant in an Internal

   5    Affairs case.     I needed to talk to him.      I needed to get

   6    information.     I was frustrated because he wouldn't cooperate.

   7    Q.      You didn't think he was a very good witness, did you?

   8    A.      No, I did not.

   9    Q.      When you did speak with Jamal White, you went to his

 10     home; correct?

 11     A.      Yes.

 12     Q.      He wouldn't meet with you at a government building,

 13     would he?

 14     A.      No, he would not.

 15     Q.      And when you got to his house, he told you he didn't

 16     want to speak with you at all?

 17     A.      Yes.

 18     Q.      He told you he didn't want the interview taped, didn't

 19     he?

 20     A.      That's correct.

 21     Q.      He wouldn't sign the admonishment that you read to him,

 22     would he?

 23     A.      No, he would not.

 24     Q.      And in fact he told you that he had a lawyer and didn't

 25     want to make a statement without his lawyer present, didn't



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   1    he?

   2    A.     That's correct.

   3    Q.     He told you that he was afraid of retaliation and didn't

   4    want to provide any information, didn't he?

   5    A.     Yes, that's what he said.

   6    Q.     But you insisted on asking him questions anyway and

   7    saying that the interview wouldn't take long, didn't you?

   8    A.     I don't know that I would have told him that it wouldn't

   9    take long, but I told him that it was important that I get

 10     his statement.

 11     Q.     You told him that you just wanted a few details, didn't

 12     you?

 13     A.     I didn't say a few details.      I needed to know the

 14     details of the incident.

 15     Q.     You kept questioning him even though he told you

 16     repeatedly that he didn't want to talk to you, didn't you?

 17     A.     That's not true.

 18     Q.     You kept questioning him, didn't you?

 19     A.     When he told me that he didn't want to talk anymore, I

 20     wanted an explanation about it and then I left his house.

 21     Q.     You kept asking him questions after he told you he

 22     didn't want the interview videotaped, didn't you?

 23     A.     No.

 24     Q.     Is there a portion of the interview that was videotaped?

 25     A.     No.



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   1    Q.      So your questions came after the decision not to

   2    videotape Jamal White, didn't they?

   3    A.      Not to videotape?

   4    Q.      Yes.

   5    A.      We don't videotape witnesses.        We audio tape them.

   6    He --

   7                   THE COURT:    You've answered.

   8    BY MS. CARTER:

   9    Q.      You asked him questions after Jamal White told you he

 10     didn't want to be taped, didn't you?

 11     A.      Yes.

 12     Q.      And you asked him questions after he told you that he

 13     had an attorney and didn't want to answer questions without

 14     his attorney present?

 15                    THE COURT:    That's asked and answered.    Go ahead to

 16     something else.

 17                    MS. CARTER:    Yes, Your Honor.

 18     Q.      Now, you testified that you didn't tell Mr. White that

 19     you would just ask him a few details.           Do you recall that?

 20                    MR. SCHWARTZ:    Objection.    Misstates the testimony.

 21                    THE COURT:    That's overruled.

 22                    THE WITNESS:    I didn't tell him a few details.       I

 23     wanted specific details about the incident.

 24     BY MS. CARTER:

 25     Q.      Didn't you write in your report Tregarthen advised



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   1    Mr. White that he only wanted to know some of the details

   2    surrounding the incident when the officers used force after

   3    he was arrested?

   4    A.    That's correct.

   5    Q.    Now, when you spoke with the FBI in 2011, you chalked

   6    Mr. White's reluctance up to paranoia, didn't you?

   7    A.    Yes.

   8    Q.    You didn't take his fears seriously, did you?

   9    A.    I didn't take his what seriously?

 10     Q.    Fears of retaliation seriously.

 11     A.    I have a concern about that, but it seemed like his

 12     fears were more imagined than anything else.

 13     Q.    You didn't respect his wish to have his lawyer present

 14     before he made any statements, did you?

 15     A.    That's not true.

 16     Q.    You didn't wait for his lawyer to be present before you

 17     asked him questions, did you?

 18     A.    There was never a time when we were gonna meet with his

 19     attorney.    I set up several different meetings with

 20     Mr. White.    The first time I talked to him, he said he would

 21     agree to be at his residence and make a statement.           When I

 22     called him --

 23                  MS. CARTER:   Objection.    Nonresponsive.     Move to

 24     strike.

 25                  THE COURT:    It will be stricken.     Ask another



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   1    question.

   2    BY MS. CARTER:

   3    Q.    Jamal White didn't ultimately tell you his full side of

   4    the story, did he?

   5    A.    No, he did not.

   6    Q.    Did you feel like Jamal White was trying to get rid of

   7    you as you asked him questions?

   8    A.    I don't know what was in his mind about why he wouldn't

   9    talk to me.

 10     Q.    You didn't interview Dennis Decker?

 11     A.    No, I didn't.

 12     Q.    Is that because Defendant Sclafani never listed him as

 13     being present on his supplemental arrest report?

 14     A.    That would be a reason.

 15     Q.    The only other officer you interviewed besides defendant

 16     about this Jamal White incident was the arresting officer

 17     Matthew Drew; correct?

 18     A.    Yes, ma'am.

 19     Q.    Is that because Defendant Sclafani never listed any

 20     witnesses in his supplemental arrest report?

 21     A.    That's correct.

 22     Q.    Now, you have testified about -- do you recall

 23     testifying about your experiences as an L.A. Police

 24     Department officer?

 25     A.    Could you repeat that, please?



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   1    Q.    Do you recall testifying about your experiences as an

   2    LAPD police officer?

   3    A.    Yes, ma'am.

   4    Q.    Were you also a detective at the Harbor patrol for six

   5    years?

   6    A.    Yes, ma'am.

   7    Q.    Were you also a patrol sergeant for the Southwest

   8    patrol?

   9    A.    Yes, ma'am.

 10     Q.    Were you also a consultant and a contractor for the

 11     Long Beach Police Department for 20 years?

 12     A.    Yes, ma'am.

 13     Q.    And then thereafter you owned your own internal affairs

 14     consulting firm; correct?

 15     A.    Not in that order.

 16     Q.    How long have you owned your own internal affairs

 17     consulting firm?

 18     A.    Since 1989.

 19     Q.    Based on all of this training and experience, even

 20     though Jamal White refused to give you full information, did

 21     you conclude that if you were the defendant transporting

 22     Jamal White, you would have had another officer follow you

 23     while you transported him?

 24     A.    Yes, ma'am.

 25     Q.    Based on your training and experience, did you perceive



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   1    no legitimate law enforcement reason for defendant to have

   2    pulled over his patrol car if an arrestee was handcuffed and

   3    caged in the back seat?

   4                 MR. SCHWARTZ:     Objection.   Relevance.

   5                 THE COURT:   Overruled.    You may answer.

   6                 THE WITNESS:    There could be a reason to pull over.

   7    BY MS. CARTER:

   8    Q.      Didn't you tell the FBI when you interviewed with them

   9    in October of 2011 that there was no reason why Sclafani or

 10     any officer should pull over if an arrestee was handcuffed

 11     and caged in the back of a patrol car?

 12     A.      I don't remember telling them that.

 13     Q.      Would it refresh your recollection to review the report

 14     of the interview or might it refresh your recollection?

 15     A.      We can try it again.    It didn't help the first time.

 16                  THE COURT:   Let's move on.

 17     BY MS. CARTER:

 18     Q.      Based on your training and experience whether someone is

 19     handcuffed in the back of a patrol car is a factor in

 20     determining whether to pull over and pepper spray the person

 21     or just keep on driving, isn't it?

 22                  MR. SCHWARTZ:     Objection.   Relevance.

 23                  THE COURT:   Overruled.    You may answer.

 24                  THE WITNESS:    I can understand why you might pull

 25     over.    I'm not sure why you might pepper spray them.



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   1    BY MS. CARTER:

   2    Q.    In your assessment whether someone is handcuffed in the

   3    back of a patrol car is a factor; isn't it?

   4    A.    Yes, ma'am.

   5    Q.    Whether someone is handcuffed is a factor when using

   6    force in other situations, isn't it?

   7    A.    Yes, it is.

   8    Q.    Having someone handcuffed, can reduce the potential for

   9    injury to an officer, can't it?

 10     A.    Yes, ma'am.

 11     Q.    Having someone handcuffed, can reduce the risk that

 12     person can escape, can't it?

 13     A.    Yes.

 14     Q.    Having someone handcuffed, could mean that an officer

 15     has more options to use a lesser degree of force or avoid

 16     force, couldn't it?

 17     A.    That is correct.

 18     Q.    Mr. Tregarthen, when you interviewed Angelica Vargas,

 19     you didn't take her allegation seriously either, did you?

 20     A.    I take all the allegations seriously.

 21     Q.    In your interview with FBI in October of 2011, you

 22     described her as a terrible witness, didn't you?

 23     A.    She was not a very good witness, ma'am.

 24     Q.    You complained to the government that Angelica Vargas

 25     was crying during the interview.



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   1                THE COURT:    Question.

   2    BY MS. CARTER:

   3    Q.    Did you complain to the government that Angelica Vargas

   4    was crying during the interview?

   5    A.    I don't know if I complained about it.         I stated that

   6    she was crying.

   7    Q.    Was that one reason she was a terrible witness?

   8    A.    There were other reasons.

   9    Q.    Was that one reason she was a terrible witness?

 10     A.    I don't know that the crying was the reason that I

 11     didn't regard her as being a good witness.

 12     Q.    You told the FBI that she couldn't remember what

 13     happened during the incident, didn't you?

 14     A.    That's correct.

 15     Q.    But she tell you, didn't she, she was sprayed with mace

 16     and tased for no reason?

 17                 MR. SCHWARTZ:     Objection.    Hearsay.

 18                 MS. CARTER:    Your Honor, I'm not offering this for

 19     the truth of the matter, but --

 20                 THE COURT:    It's overruled.     You may proceed.

 21     BY MS. CARTER:

 22     Q.    Angelica Vargas did tell you, didn't she, that she was

 23     sprayed with mace and tased for no reason?

 24     A.    Yes, ma'am.

 25     Q.    She told you that at some point on the day of the



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   1    incident she banged on the cell door to use the phone, didn't

   2    she?

   3                 MR. SCHWARTZ:    Objection.    Hearsay again,

   4    Your Honor.

   5                 THE COURT:    Overruled.

   6                 THE WITNESS:    Yes.

   7    BY MS. CARTER:

   8    Q.     She told you when an officer opened the door, she

   9    stepped out believing she was being allowed to use the phone,

 10     didn't she?

 11     A.     Could you repeat the question?       I'm having trouble

 12     hearing you.

 13                  MS. CARTER:    One moment, Your Honor.

 14     Q.     Angelica Vargas told you, didn't she, that when an

 15     officer opened the door, she stepped out believing she was

 16     being allowed to use the telephone?

 17     A.     I believe that's correct.

 18     Q.     She told you, didn't she, that when she stepped out the

 19     officer called her a smart ass and maced her, didn't she?

 20                  MR. SCHWARTZ:    Objection.    Double hearsay and

 21     relevance.

 22                  THE COURT:    Overruled.

 23                  THE WITNESS:    I'm not certain about that.      I know

 24     the macing part is correct.

 25     BY MS. CARTER:



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   1     Q.     She told you that she began to gag because of the smell

   2     of what she was sprayed with, didn't she?

   3     A.     Yes.

   4     Q.     Then she told you she began crying out in her cell for

   5     fresh air, didn't she?

   6     A.     Yes, ma'am.

   7     Q.     She told you that someone opened the door again, didn't

   8     she?

   9     A.     Yes --

  10                   MR. SCHWARTZ:   Objection, Your Honor.     For

  11     expediency, a running objection.

  12                   THE COURT:   You may have a running objection.

  13     Overruled.

  14     BY MS. CARTER:

  15     Q.     And she told you that she was tased at that point and

  16     called an ugly ass girl, wasn't she?

  17     A.     Yes, ma'am.

  18     Q.     She told you she was in pain and could not hold her

  19     bladder and urinated on herself, didn't she?

  20     A.     Yes, ma'am.

  21     Q.     She told you that the officers pulled her from the cell

  22     and allowed her to crawl outside, didn't she?

  23     A.     Yes.

  24     Q.     She told you that once she was out there, the officers

  25     made comments about her and tased her again, didn't she?



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   1     A.     Yes.

   2     Q.     She told you that the tasing ended when the officer who

   3     maced her and tased her when she was outside said that he was

   4     tired of her and allowed her to return to the jail, didn't

   5     she?

   6     A.     Yes.

   7     Q.     She denied escaping, didn't she?

   8     A.     Yes.

   9     Q.     She denied obstructing the officers or being

  10     uncooperative, didn't she?

  11     A.     That is correct.

  12     Q.     She denied assaulting or attempting to assault anyone,

  13     didn't she?

  14     A.     Yes.

  15     Q.     She said that all she did was demand a telephone call

  16     and fresh air, didn't she?

  17     A.     Yes, ma'am.

  18                   MS. CARTER:   May I have a moment, Your Honor?

  19                   THE COURT:    You may.

  20     BY MS. CARTER:

  21     Q.     So Angelica Vargas did tell you a lot about what

  22     happened to her on the night of February 25th, 2011 (sic),

  23     didn't she?

  24     A.     Yes.

  25                   MS. CARTER:   Nothing further.



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   1                    THE COURT:    Redirect.

   2                    MR. SCHWARTZ:    Yes, Your Honor.   Thank you.

   3

   4                                 REDIRECT EXAMINATION

   5     BY MR. SCHWARTZ:

   6     Q.      Did Angelica Vargas tell you if she had an anxiety

   7     disorder at the time of the incident?

   8                    THE COURT:    Excuse me.    Tell you what?

   9     BY MR. SCHWARTZ:

  10     Q.      Did Angelica Vargas tell you she had an anxiety disorder

  11     during the time of this incident?

  12     A.      Yes, she did.

  13                    MS. CARTER:    Objection.    Relevance.    I'm not sure

  14     that he's offering it for the same reason.

  15                    THE COURT:    On what basis are you offering it?

  16                    MR. SCHWARTZ:    Counsel be heard at side bar,

  17     Your Honor?

  18                    THE COURT:    No, not at this time, but I'll let the

  19     answer stand.

  20     BY MR. SCHWARTZ:

  21     Q.      You noted earlier on cross-examination that you felt

  22     that Angelica Vargas was a terrible witness.             You remember

  23     that?

  24     A.      Yes, sir.

  25     Q.      Why?



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   1     A.    She tended to ramble and get off the subject.          She

   2     became hysterical to the point where she was nonresponsive.

   3     Part of the conditions of the interview was that her common

   4     law husband was allowed to sit in the interview with her and

   5     he agreed that the interview couldn't go any further because

   6     of her unresponsiveness.

   7     Q.    And did Ms. Vargas tell you that she had drank alcohol

   8     the day of the incident?

   9     A.    Yes.

  10     Q.    How much alcohol did she tell you she drank if you

  11     remember?

  12     A.    She said that she had a beer.

  13     Q.    One beer?

  14     A.    There may have been some other drinks, but specifically

  15     she had a beer before the incident.

  16     Q.    And did she tell you -- counsel asked you about

  17     Ms. Vargas relating to you during that interview that at some

  18     point the door was open and she stepped out.         Do you recall

  19     that question?

  20     A.    Yes.

  21     Q.    Did Ms. Vargas tell you that she had been pounding on

  22     the door before the door was opened?

  23     A.    Yes.

  24     Q.    Had she been yelling before the door was opened?

  25     A.    Yes.



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   1     Q.      And did Ms. Vargas tell you that an officer with blond

   2     spiked hair is one who maced her?

   3     A.      Yes.

   4     Q.      And that an officer, the officer with blond spiked hair,

   5     is one who made the comment, the derogatory comment to her?

   6     Did she tell you that?

   7     A.      Yes, sir.

   8     Q.      And did Ms. Vargas tell you after she was maced if she

   9     had an anxiety attack or not?

  10     A.      She did say that she had an anxiety attack.

  11     Q.      Did she tell you whether or not she blacked out from

  12     that anxiety attack?

  13     A.      Yes.

  14     Q.      What did she tell you?

  15     A.      She did black out.

  16     Q.      Did she tell you that because of her disorder, she was

  17     prone to black outs?

  18     A.      Yes.

  19     Q.      She did tell you she was on any drugs or medication

  20     because of her disorder at the time?

  21     A.      She had a prescription, but she hadn't been taking the

  22     prescribed medication.

  23     Q.      Did she tell you what the prescription was for, what

  24     drug?

  25     A.      I believe it was Prozac.



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   1     Q.     And did Ms. Vargas tell you that the officer with the

   2     blond spiked hair whether or not he was the one who tased

   3     her?

   4                   THE COURT:    That's asked and answered.

   5                   MR. SCHWARTZ:   I believe it was mace, Your Honor.

   6                   THE COURT:    Go ahead.

   7     BY MR. SCHWARTZ:

   8     Q.     Did Ms. Vargas tell you whether or not the officer with

   9     the blond spiked hair was the one who tased her?

  10     A.     Yes.

  11     Q.     What did she say regarding that?

  12     A.     She was explaining the circumstances and I asked for a

  13     description of the individual and she described that was the

  14     best description she could give me.

  15     Q.     That he was an officer with blond spiked hair?

  16     A.     Yes.

  17     Q.     And did Ms. Vargas describe to you whether or not during

  18     this entire incident she was suffering from her anxiety

  19     attacks?

  20     A.     What was that again?

  21     Q.     Did Ms. Vargas tell you whether or not during the entire

  22     incident she was suffering from an anxiety attack?

  23                   MS. CARTER:   Objection.   Vague.

  24                   THE COURT:    Why don't you rephrase it.

  25     BY MR. SCHWARTZ:



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   1     Q.    In the course of your interview with Ms. Vargas, did she

   2     describe to you whether or not during the incident that she

   3     had been maced and tased that she was suffering from an

   4     anxiety attack?

   5     A.    Yes.

   6     Q.    And what did she tell you regarding that?

   7     A.    The -- to begin with, she blacked out after the traffic

   8     accident she had been involved in when the officer first got

   9     there.   And then again she mentioned that she blacked out,

  10     but I can't remember specifically right now if it was after a

  11     tasing or a pepper spray and which of the two incidents.

  12     Q.    And did Ms. Vargas relate to you that when she had been

  13     tased by the officer, she heard a clicking or a popping

  14     sound?

  15     A.    Yes.

  16     Q.    What did she say?

  17     A.    That there was a popping sound.

  18     Q.    A loud clicking or popping sound?

  19     A.    Yes.

  20     Q.    And do you recall when counsel asked you whether or not

  21     you felt Mr. White was a good witness?         Do you recall that?

  22     A.    Yes.

  23     Q.    You said you did not feel Mr. White was a good witness.

  24     You recall that?

  25     A.    Yes.



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   1     Q.      Why?

   2     A.      He was reluctant to answer my questions.       The process of

   3     conducting a personal investigation involves obtaining

   4     specific details surrounding incidents in order to get better

   5     information about the investigation.        Mr. White didn't

   6     provide that information.

   7     Q.      Now, in the course of trying to interview Mr. White, did

   8     you ever set up meetings with him where he had agreed to meet

   9     with you and did not show up?

  10     A.      Pardon me?

  11     Q.      Did you ever set up meetings with Mr. White prior to

  12     actually interviewing him, where he had agreed to meet with

  13     you at a date and time and he did not show up?

  14     A.      Yes, I did.

  15     Q.      And as counsel asked you based on your training and

  16     expertise, did you find Mr. White to be a credible witness?

  17     A.      Credible?

  18                    MS. CARTER:   Objection.   Improper question,

  19     Your Honor.

  20                    THE COURT:    Sustained.

  21     BY MR. SCHWARTZ:

  22     Q.      Did you find anything about Mr. White's version of the

  23     events to be contradicted by the physical evidence you had

  24     seen?

  25     A.      Yes, I did.



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   1     Q.    Do you remember what that was?

   2     A.    Yes, sir.

   3     Q.    What was that?

   4     A.    According to Mr. White, he was tased by Sergeant

   5     Sclafani while in the police car and on Ironwood after

   6     Mr. Sclafani had stopped.      When I checked Sclafani's taser,

   7     it registers every time the taser is used and there was no

   8     taser use at the time Mr. White said he was tased.

   9     Q.    And counsel asked you whether or not a person being

  10     handcuffed would have any kind of relevance to use of force.

  11     You remember that?

  12     A.    Yes.

  13     Q.    Based on your training and experience, if a prisoner is

  14     handcuffed, is he still considered dangerous?

  15     A.    They are still dangerous, yes.

  16     Q.    If the person is able to kick is he still considered

  17     dangerous?

  18     A.    Yes.

  19                  MR. SCHWARTZ:   Have a moment please, Your Honor?

  20                  THE COURT:    You may.

  21     BY MR. SCHWARTZ:

  22     Q.    As part of your investigation, did you interview Karen

  23     Harper, Mr. White's girlfriend at the time?

  24     A.    Yes.

  25                  MS. CARTER:   Objection.    Beyond the scope.



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   1                  THE COURT:   It is beyond the scope.

   2                  MR. SCHWARTZ:   Nothing further at this time.

   3                  THE COURT:   Yes.   Recross.

   4                               RECROSS-EXAMINATION

   5     BY MS. CARTER:

   6     Q.    When Angelica Vargas described the person who opened the

   7     door and maced her, could she give a clear description of the

   8     person?

   9     A.    Was this when the door was first opened for her?

  10     Q.    When the door was first opened for her after she had

  11     been requesting a phone call and an officer opened the door

  12     and maced her, could she give a clear description of who that

  13     person was?

  14     A.    No.

  15     Q.    Were any of her descriptions of the officers

  16     particularly clear?

  17     A.    No.

  18     Q.    Did Angelica Vargas describe being tased by two

  19     different officers?

  20     A.    Yes.

  21     Q.    Was Angelica Vargas sure that the same officer who

  22     opened the door and maced her when she was asking to make a

  23     phone call was one of the officers who later tased her?

  24     A.    I believe that's what she told me.

  25     Q.    Now, defense counsel asked you something about whether



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   1     Ms. Vargas made statements about blacking out.          Do you recall

   2     that?

   3     A.      Yes.

   4     Q.      Did Angelica Vargas say she blacked out or did she say

   5     that she was close to blacking out?

   6     A.      I think she said both.

   7     Q.      Did Jamal White say that he had been pepper sprayed in

   8     the back of the police car?

   9     A.      Yes.

  10     Q.      And was that consistent with defendant's statements in

  11     his police report only where he admitted pepper spraying

  12     Jamal White in the back of his police car?

  13     A.      Yes.

  14     Q.      If you knew that Jamal White had given several

  15     statements to the FBI over the years and always maintained

  16     that the first tase happened at the police station, do you

  17     think that coupled with the difficult interview circumstances

  18     that you described might make it possible that you

  19     misunderstood where White said the first tasing occurred?

  20                    THE COURT:   That's an improper question.

  21                    MR. SCHWARTZ:   Thank you, Your Honor.

  22                    THE COURT:   Almost anything is possible.     Go ahead.

  23     BY MS. CARTER:

  24     Q.      Do you -- going back to where you said that the

  25     discussion that of blacking out or being close to blacking



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   1     out, did Ms. Vargas tell you that she was blacked out or

   2     close to blacking out during the tasing or as a result of the

   3     tasing?

   4     A.    As a result.

   5                  MS. CARTER:   May I have a moment, Your Honor?

   6                  THE COURT:    Of course.

   7     BY MS. CARTER:

   8     Q.    You mentioned that you reviewed the taser download as

   9     part of your investigation of the Jamal White incident; is

  10     that correct?

  11     A.    Yes.

  12     Q.    Did you also review taser downloads as part of the

  13     Angelica Vargas investigation?

  14     A.    Yes.

  15     Q.    Do you recall which taser -- what taser downloads you

  16     reviewed for the Jamal White incident?

  17     A.    It would have been for Sergeant Sclafani's taser.

  18     Q.    What taser downloads did you review as part of the

  19     Angelica Vargas incident?

  20     A.    I believe it was all of the officers that might have

  21     been involved.

  22     Q.    Did that include Defendant Sclafani?

  23     A.    Yes.

  24     Q.    Did that include Matthew Gutting?

  25     A.    Yes.



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   1     Q.      For either the Jamal White or Angelica Vargas incidents,

   2     did you review only one taser download for Defendant

   3     Sclafani?

   4     A.      I don't understand the question.

   5     Q.      For -- how many taser downloads did you review for

   6     Defendant Sclafani?       Just one or more than one?

   7     A.      One for the Vargas and then another one for the White

   8     case.

   9     Q.      Who provided -- were these taser downloads provided to

  10     you by the Desert Hot Springs Police Department?

  11     A.      Yes.

  12     Q.      Did Sergeant Radanomous Gill download all of the taser

  13     downloads and provide them to you?

  14     A.      Yes, ma'am.

  15     Q.      The circumstances of the Jamal White interview were

  16     difficult, weren't they?

  17     A.      Frustrating, yes.

  18     Q.      And that was because Jamal White didn't want to talk to

  19     you, wasn't it?

  20     A.      Ultimately, yes.

  21     Q.      Do those difficult circumstances make it more likely

  22     that you could have been mistaken about where Jamal White

  23     said he was first tased?

  24     A.      No, ma'am.

  25                    MS. CARTER:   May I have a moment, Your Honor?



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   1                  THE COURT:    You may.

   2     BY MS. CARTER:

   3     Q.      Did you review taser downloads for 12 different officers

   4     who were working the night of the Jamal White incident?

   5     A.      No, I did not.

   6                  MS. CARTER:    Nothing further, Your Honor.

   7                  THE COURT:    Anything further of this witness?

   8                  MR. SCHWARTZ:    No, Your Honor.    Thank you.

   9                  THE COURT:    Thank you, sir.   You're excused.

  10                  We're gonna take a belated luncheon recess at this

  11     time.    Sorry, we tried to finish this witness.        Everyone

  12     please rise for the jury.

  13                                (Jury not present.)

  14                  THE COURT:    All right.   Please be seated.     Outside

  15     the presence of the jury.       I think this is the time,

  16     Mr. Schwartz that you can make your Rule 29 motion for the

  17     record as you had indicated previously.

  18                  MR. SCHWARTZ:    Thank you, Your Honor.     Since I have

  19     indicated to the Court our previous position, I'll not

  20     belabor it.    I'll make the motion pursuant to Rule 29 on both

  21     counts and submit on previous comments that were outside the

  22     presence of the jury.

  23                  THE COURT:    Very well.   That motion is denied.

  24     We'll proceed.     You have a witness available at 2 o'clock?

  25                  MR. SCHWARTZ:    Yes Your Honor.



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   1                 THE COURT:    All right.    And you have enough

   2     witnesses to take us through the day, I take it?

   3                 MR. SCHWARTZ:    I hope so.    I haven't checked

   4     outside in a few minutes, but I would hope so.

   5                 THE COURT:    2 o'clock then.

   6                 MR. SCHWARTZ:    Thank you.

   7                          (Lunch recess.)

   8                 THE COURT:    Good afternoon.    We're again outside

   9     the presence of the jury.      I understand there is a matter to

  10     be taken up.

  11                 MR. SCHWARTZ:    Yes, Your Honor.

  12                 THE COURT:    We'll start with you.

  13                 MR. SCHWARTZ:    Thank you, Your Honor.

  14                 We discussed with counsel our witnesses left.         One

  15     was Chief Williams who was currently the Chief of Police at

  16     Desert Hot Springs Police Department.        I related to counsel

  17     our plans were to call him to testify to one, the difference

  18     between an officer who is on probationary status as opposed

  19     to permanent which did come with Officer Decker's testimony

  20     regarding my client's status at the time.

  21                 THE COURT:    Is Chief Williams with the Department

  22     back in 2005?

  23                 MR. SCHWARTZ:    No, but the rules regarding

  24     probationary officers and their status hasn't changed.

  25                 THE COURT:    How can he tell us?



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   1                 MR. SCHWARTZ:    He can tell us?     He can tell us his

   2     experience based on he's been through the different ranks of

   3     the administration and how that's been the kind of status for

   4     a number of years.

   5                 THE COURT:    But can he tell us about the subject

   6     time?    Can he tell us about 2005?

   7                 MR. SCHWARTZ:    I believe he can, Your Honor.

   8                 THE COURT:    Was he there?

   9                 MR. SCHWARTZ:    It's no different for Desert Hot

  10     Springs Police Department than anywhere else in the State of

  11     California.

  12                 THE COURT:    In 2005?

  13                 MR. SCHWARTZ:    Correct.

  14                 THE COURT:    How can he tell us that?

  15                 MR. SCHWARTZ:    Because he's familiar with the civil

  16     service rules and procedures regarding Skelly hearings,

  17     regarding an officer's status.       And one of the laws of the

  18     State of California based on case law --

  19                 THE COURT:    Why can't we have a stipulation in that

  20     regard?

  21                 MR. SCHWARTZ:    That's fine with me, Your Honor.

  22     More than willing to stipulate to that fact.         The law is what

  23     it is.

  24                 THE COURT:    Is there some reason the government

  25     isn't stipulating to this?



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   1                  MR. ARKOW:    Could we have a moment, Your Honor?

   2                  THE COURT:    You may.

   3                  MR. ARKOW:    Your Honor, I understand that defense

   4     counsel made that representation, but defense hasn't provided

   5     and the government is not aware of any evidentiary basis to

   6     agree that that information is correct.         That is what

   7     happened in Desert Hot Springs in 2005 the relevant time

   8     period was true for every police department in all of

   9     California.    The government is just not in a position to in

  10     good faith agree to a stipulation in the abstract.          And even

  11     if there were certain laws that could be pulled from

  12     California rules or regulations, what's relevant is what the

  13     practices and procedures were regarding officers on probation

  14     at Desert Hot Springs in 2005.

  15                  THE COURT:    You have made your record.     I don't see

  16     how Chief Williams testifies with regard to this offer that's

  17     been made.    All right.     Do we have somebody else?

  18                  MR. SCHWARTZ:    Yes, Your Honor.    I also addressed

  19     with counsel that we may just have one more witness left

  20     other than Chief Williams and after him we would probably

  21     rest.   I did discuss with counsel, there is a stipulation as

  22     to one more piece of evidence which we'll announce on the

  23     record, but they have a rebuttal use of force expert here

  24     throughout the trial.      If we rest, we will not be putting on

  25     the use of force expert in our case-in-chief and would be



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   1     objecting to a rebuttal use of force expert at that point.             I

   2     think it would be irrelevant at that point.

   3                 There's been questions by the government to their

   4     witnesses, specifically Eddie Cole, about use of force and

   5     how he was specifically trained at Desert Hot Springs Police

   6     Department based on the guidelines.        I don't think this

   7     expert adds anything to that.       I don't think this expert was

   8     there in 2005 during the taser training and use of force

   9     training.    I think he cannot speculate as to how they

  10     interpreted things backed in 2005 based on the addendum, how

  11     they should have been trained or not trained.          He can't give

  12     a legal opinion about a use of force or not because that's

  13     the jury's purview.      I think he becomes irrelevant without an

  14     expert on my side testifying to any training that's generally

  15     given to police officers throughout the State, generally how

  16     they would perceive things and their expectations.          There's

  17     no evidence of that.      I think he would irrelevant in that

  18     vein and we would be objecting to him as a rebuttal witness

  19     on that basis.

  20                 THE COURT:    All right.    Ms. Carter, you wish to be

  21     heard on that?

  22                 MS. CARTER:    Yes, Your Honor.

  23                 A couple of things.     First of all, as to the

  24     remainder of Chief Williams testimony --

  25                 THE COURT:    I just said Chief Williams based on the



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   1     offer of proof that was given to me will not be testifying.

   2                 MS. CARTER:    Okay, Your Honor.     We had thought

   3     there might be another basis on which he would be offered.

   4     Then I'll move on.     With regard to the use of force expert,

   5     Your Honor, we believe there has been enough in there to

   6     warrant a rebuttal witness if the government were to so call

   7     one because several people who are not at Desert Hot Springs

   8     at the time and people who were Desert Hot Springs at the

   9     time, but even people who weren't, Mr. Tregarthen just

  10     testified, he testified about various use of force issues

  11     based on his training and experience, which although

  12     extensive, did not encompass Desert Hot Springs.          In addition

  13     there were many questions asked by the defense to put it in

  14     issue with regard to the government's case-in-chief --

  15                 THE COURT:    Well, I think there's probably been

  16     enough on cross-examination that there could be rebuttal.            It

  17     should be brief.

  18                 MS. CARTER:    Yes, Your Honor.

  19                 MR. SCHWARTZ:    Can I be heard on that last matter?

  20                 THE COURT:    Yes.

  21                 MR. SCHWARTZ:    Just for the record, I respect the

  22     Court's ruling.     The government asked those questions over

  23     objection of Mr. Tregarthen it was outside the scope of any

  24     kind of direct testimony, and it would seem to me to be

  25     disingenuous to cross-examine on an issue of that nature just



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   1     to allow yourself to put on a rebuttal witness who wasn't

   2     cross-examined on this.      Defense never asked about it from

   3     their own witness.

   4                 You also had Greg Meyer testify for them.         He

   5     testified that he's a use of force expert.         He's also a taser

   6     expert.    They sought no evidence of that when they had the

   7     opportunity.    They did not give him any materials for that

   8     purpose.    We didn't go into that with him either.        There's no

   9     rebuttal for that.

  10                 We didn't ask Mr. -- as far as Detective Cole, that

  11     was gone into by the government not by counsel.          Counsel went

  12     into it on cross because the government went into it and

  13     counsel needed to testify on particular training that

  14     Detective Cole remembered the specifics at Desert Hot

  15     Springs.    I don't believe this expert could testify to any of

  16     those things.    Certainly not in 2005 and the training at

  17     Desert Hot Springs and how it was interpreted by those

  18     officers.    None of that.    If it's generalized, he can testify

  19     to that.    I think at this point, we're wasting both parties

  20     time.    We'll have our expert here first thing tomorrow at

  21     9 o'clock for another brief rebuttal to their rebuttal.            To

  22     be quite frank, I think both are a waste of time at this

  23     point.

  24                 THE COURT:    Talk to each other whether you could

  25     exclude that, it would be helpful.        Is there anything else?



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   1                 MS. CARTER:    No, Your Honor, unless the Court would

   2     like to hear further about the use of force rebuttal expert.

   3                 THE COURT:    As I said, I think Mr. Schwartz is more

   4     on the money about this.      We're just really getting into

   5     things that have already been covered.         Not sure what the

   6     rebuttal except with regard to cross-examination and there

   7     was objection to it as he rightfully points out, even though

   8     those objections were overruled.

   9                 MS. CARTER:    May I be heard briefly, Your Honor?

  10                 THE COURT:    All right.

  11                 MS. CARTER:    Your Honor, I just respectfully want

  12     to point out that I believe that it was the defense that got

  13     into with Mr. Meyer the use of force issues not the

  14     government.    The government did not proffer him as a use of

  15     expert.    It was the defense that discussed that on

  16     cross-examination and of course it was addressed then again

  17     by the government, but I think that in addition the use of

  18     force issue with Cole were certainly brought up by the

  19     defense.    All the government did was introduce some policy

  20     documents before Mr. Cole's testimony even began.          Then it

  21     was the defense who first began questioning him about.           I

  22     would just point to Mr. Tregarthen who the government did ask

  23     him some questions about that, but in part because it related

  24     to his role as an IA examiner and things he was saying about

  25     the various witnesses that he was examining.         And certainly



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   1     the defense addressed it again on redirect.         So with that,

   2     Your Honor, we would submit at this time and maybe it's

   3     something that we should revisit at the close of the defense

   4     case.   And at that point, maybe it's not something the

   5     government intends to do.

   6                 THE COURT:    All right.    Do that.   I have indicated

   7     that at this juncture if you can agree not to go into it any

   8     further, it should be very brief.        That's all.    And at the

   9     close of the case, I'm not going to change that.          It should

  10     be brief.    All these matters have taken longer than they

  11     should.    Let's bring the jury back, please.

  12                 Do you have the next witness?       Who is that next

  13     witness?

  14                 MR. SCHWARTZ:    Sergeant Gus Paiz.

  15                 THE COURT:    Please be seated.

  16                                 (Jury present.)

  17                 THE COURT:    We will continue now with the defense

  18     case.   Come straight ahead.      Come right up on the witness

  19     stand to be sworn, please.

  20                 THE CLERK:    Please raise your right hand.

  21                                (Witness sworn.)

  22                 THE WITNESS:    First name is Gustavo, G-u-s-t-a-v-o.

  23     Last is Paiz, P-a-i-z.

  24                 THE COURT:    And do you have a middle name?

  25                 THE WITNESS:    Adolfo, A-d-o-l-f-o.



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   1                  THE COURT:   Thank you.

   2                  You may proceed.

   3                  MR. SCHWARTZ:    Thank you, Your Honor.

   4                               DIRECT EXAMINATION

   5     BY MR. SCHWARTZ:

   6     Q.    Mr. Paiz, are you employed?

   7     A.    Yes.

   8     Q.    How are you employed?

   9     A.    With the City of Desert Hot Springs Police Department.

  10     Q.    What's your rank?

  11     A.    Sergeant.

  12     Q.    How long have you held that rank?

  13     A.    For two years.

  14                  THE COURT:   Sergeant, have you checked your weapon

  15     before coming into the courtroom?

  16                  THE WITNESS:    I'm not armed, Your Honor.

  17                  THE COURT:   You checked your weapon.

  18                  THE WITNESS:    No, I didn't bring a firearm into the

  19     court.

  20                  MR. SCHWARTZ:    Thank you, Your Honor.

  21     BY MR. SCHWARTZ:

  22     Q.    And before the rank of sergeant, what rank or position

  23     did you hold?

  24     A.    A police officer.

  25     Q.    How long did you hold that position or that rank?



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   1     A.    For eight years.

   2     Q.    AND how long you been with Desert Hot Springs Police

   3     Department?

   4     A.    Ten years.

   5     Q.    Do you know when you started there, the date and the

   6     month you started Desert Hot Springs?

   7     A.    Yes.

   8     Q.    What is that?

   9     A.    June of 2001.

  10     Q.    And you were working in Desert Hot Springs Police

  11     Department back in the beginning of 2005.

  12     A.    Yes.

  13     Q.    And do you know my client seated right here?

  14     A.    Yes, I do.

  15     Q.    Who is he?

  16     A.    Tony Sclafani.

  17     Q.    How do you know him?

  18                  THE COURT:   Indicating for the record the

  19     defendant.

  20                  MR. SCHWARTZ:   Thank you, Your Honor.

  21     BY MR. SCHWARTZ:

  22     Q.    How do you know him?

  23     A.    He's my co-worker.

  24     Q.    And back in 2005, was there a computer system that kept

  25     track of records called the RIM system?



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   1     A.    Yes.

   2     Q.    Were you familiar with that system back then?

   3     A.    Yes.

   4     Q.    And how was that system operated in relationship to

   5     booking evidence and police reports?

   6     A.    It would help us document the evidence that was booked

   7     as evidence in whatever criminal case or whatever report that

   8     you would take out in the field.

   9     Q.    And what was the procedure for booking in evidence at

  10     that time back in 2005 in relationship to the RIM's system?

  11     A.    Whenever you obtained evidence, you would grab a

  12     property control receipt which we would call a PCR, and you

  13     would fill it out.     It would ask you questions as make,

  14     model, description, and you would sign it and date it.

  15     Q.    Okay.   What happened after that?

  16     A.    And you would book the property into an evidence locker,

  17     and you would retain the PCR with you.

  18     Q.    Now, when an officer did that, booked the property into

  19     an evidence locker and filled out a PCR, would there be any

  20     notation on RIM's on that date that it was filled out and

  21     booked into the evidence locker?

  22     A.    If you happened to write the report that day, there

  23     would be an entry, but if you didn't write the report that

  24     day, it would not be entered into until you wrote the report.

  25     Q.    So what is the catalyst for an entry on a case to be in



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   1     the RIM system?      Would it be the booking of the evidence or

   2     the writing of the report?       If you can answer.

   3     A.      I'm sorry, can you rephrase that?      I didn't understand

   4     that.

   5     Q.      Sure.    What event or events would be that would spark or

   6     initiate a case being entered into the RIM system?

   7     A.      It would be a criminal report, an arrest report, any

   8     report into the RIM system.

   9     Q.      So simply booking evidence into an evidence locker with

  10     a PCR, would that initiate that evidence being placed into

  11     the RIM system?

  12     A.      Yes.

  13     Q.      Without a report being written?

  14     A.      Oh, no.   You need a report in order to book evidence.

  15     Q.      So to clarify, if evidence is booked into the evidence

  16     locker, and a PCR was filled out, but the report was written

  17     later than the date that the evidence was booked in, would

  18     there be any entry in the RIM system on that date, the date

  19     of the booking of the evidence in the evidence locker?

  20     A.      No.    There would only be what's on the PCR.     It could be

  21     days, weeks or months before you actually went into the

  22     report and documented the type of property that was booked as

  23     evidence into the locker.      So the date on the PCR would not

  24     necessarily correspond to the date in RIMS because the date

  25     of the entry into the locker room is not gonna be the same as



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   1     the RIMS entry.

   2     Q.      And back in the beginning of 2005, in your experience,

   3     was it common or uncommon for officers to be behind in

   4     reports?

   5     A.      It was common.

   6     Q.      And do you have any kind of an estimate if you know --

   7     or from your own experience, how common was it for you to be

   8     behind in reports back in 2005?

   9     A.      The average for me was sometimes 35 to 45 reports.

  10     Q.      Is that per week, per month?

  11     A.      Uh, just at any given time cause we were so busy.        It

  12     all depends how fast you completed your reports.

  13     Q.      Now, if the evidence was booked in timely right after

  14     the incident took place, but the report was written well

  15     after the fact, would that be reflected in RIMS, the

  16     difference in the dates?

  17     A.      Not necessarily.   The . . .    the entry in RIMS is gonna

  18     reflect the date that you are writing that report.

  19     Q.      Now, back in 2005, did the Desert Hot Springs Police

  20     Department share the building with any other city facility?

  21     A.      I know we shared the building with the whole city like

  22     city halls, other city personnel.        I don't really recall at

  23     2005.

  24     Q.      And in 2005, the parking lot was in the Desert Hot

  25     Springs Police Department, was that shared by civilian or



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   1     non-civilian employees working for the City?

   2     A.    Yes.

   3     Q.    And how many gates were there in that parking lot, the

   4     entire parking lot back in 2005?

   5     A.    Three.

   6     Q.    And how were they activated to open and close to your

   7     knowledge?

   8     A.    Through a gate clicker.

   9     Q.    Remote control?

  10     A.    Yes.

  11     Q.    Could they also be activated by a motion sensor?          Okay.

  12     Were they also activated by a motion sensor?

  13     A.    Uh, not of human -- of like a vehicle, of anything of a

  14     big mass, if you will.

  15     Q.    Like a car?

  16     A.    Yeah.    Yes.

  17     Q.    Now, are you familiar with the terms as it relates to

  18     Desert Hot Springs Police Department back in 2005 meat eaters

  19     and lettuce eaters?

  20     A.    Yes.

  21     Q.    How so?

  22     A.    It was term that was loosely thrown around to

  23     describe -- describe the officer that you were.

  24     Q.    Which were you if either one?

  25     A.    I was a meat eater at one point, and then I became a



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   1     lettuce eater.

   2     Q.    Is that something you did individually or just how

   3     people described you?

   4     A.    How one person described me.

   5     Q.    And --

   6                 THE COURT:    Well, just a minute.

   7                 One person described you as previously being a meat

   8     eater and then becoming a lettuce eater?

   9                 THE WITNESS:    Yes, Your Honor.

  10                 MR. SCHWARTZ:    Thank you, Your Honor.

  11     BY MR. SCHWARTZ:

  12     Q.    And were those serious denotations for officers or more

  13     like a joke around the department?

  14     A.    No, it was a joke.

  15     Q.    Do you remember how the whole joke started?

  16     A.    We got called out to a burglary in progress.         Officers

  17     went out to the location.      We surrounded the house, and the

  18     burglar was inside.      We called out the burglar.      He didn't

  19     come out.    And when we tried to make entry inside the house,

  20     he managed to jump the fence.       We, myself and a sergeant at

  21     that time, chased the subject for a short period, and he

  22     managed to escape, and we lost him.        And, uh, another two

  23     officers found him, and he was taken into custody.          And

  24     because we lost him, uh, we were deemed lettuce eaters.

  25     Q.    Is that where the term started?



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   1     A.    Yes.

   2                  THE COURT:   Didn't you just testify that you had

   3     previously been called a meat eater before you were called a

   4     lettuce eater?

   5                  THE WITNESS:    Yes, Your Honor.

   6                  THE COURT:   How did that work in relation to what

   7     you just told us?

   8                  THE WITNESS:    Because I was under -- previous to

   9     working to the sergeant where I was involved in the foot

  10     pursuit and we lost him, I was assigned to a different

  11     sergeant who came up with the term, and I was under his

  12     command.     He was my supervisor.     So when I worked under his

  13     command, I was deemed a meat eater because I was on his

  14     shift.

  15                  THE COURT:   So then it really started before this

  16     burglary chase; is that right?

  17                  THE WITNESS:    Yes.

  18                  MR. SCHWARTZ:    May I just confer, Your Honor,

  19     please, for a moment?

  20                  THE COURT:   Certainly.

  21     BY MR. SCHWARTZ:

  22     Q.    And the classifications that the Court just clarified

  23     being meat eaters and lettuce eaters, when they started, that

  24     was before my client started working at Desert Hot Springs;

  25     is that correct?



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   1     A.      I just don't recall.

   2                   MR. SCHWARTZ:    Nothing further at this time,

   3     Your Honor.

   4                   THE COURT:    Cross-examination, Ms. Carter.

   5                   MS. CARTER:    Thank you, Your Honor.

   6                                  CROSS-EXAMINATION

   7     BY MS. CARTER:

   8     Q.      It wasn't a compliment to be called a lettuce eater, was

   9     it?

  10     A.      No.

  11     Q.      It was a compliment to be called a meat eater, wasn't

  12     it?

  13                   THE COURT:    What's your answer?

  14                   THE WITNESS:    No.

  15     BY MS. CARTER:

  16     Q.      The people who used these terms, meat eaters and lettuce

  17     eaters, were the people who used them more like -- were they

  18     more the meat eaters or more the lettuce eaters?

  19     A.      The meat eaters.

  20     Q.      And the meat eaters were proud to be meat eaters,

  21     weren't they?

  22     A.      No.

  23     Q.      The meat eaters thought that it was better to use more

  24     force rather than less when interacting with subjects, didn't

  25     they?



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   1                  MR. SCHWARTZ:     Objection.   Vague, Your Honor.

   2                  THE COURT:   Could we have a time frame?

   3     BY MS. CARTER:

   4     Q.    Around the time period before February 2005, people who

   5     called themselves meat eaters thought it was better to use

   6     more force rather than less when interacting with subjects,

   7     didn't they?

   8                  MR. SCHWARTZ:     Objection, relevance.

   9                  THE COURT:   That's overruled.

  10                  You may answer if you can.

  11                  THE WITNESS:    No.

  12     BY MS. CARTER:

  13     Q.    And they thought the lettuce eaters' way of handling

  14     suspects was not as good as the meat eaters' way of handling

  15     suspects, didn't they?

  16                  MR. SCHWARTZ:     Objection.   Vague both as to time

  17     and people.

  18                  THE COURT:   Overruled.

  19                  You may answer.

  20                  THE WITNESS:    No.

  21     BY MS. CARTER:

  22     Q.    Now, you said that you at some point became a lettuce

  23     eater because one person in particular started calling you a

  24     lettuce eater instead of a meat eater.         Do you recall that?

  25     A.    Yes.



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   1     Q.    Who was that person?

   2     A.    Dave Henderson.

   3     Q.    Didn't Henderson start calling you a lettuce eater after

   4     the burglary incident that you just described?

   5     A.    Yes.

   6     Q.    And that was because you were the officer who let the

   7     burglary suspect run right past him without shooting him,

   8     weren't you?

   9     A.    I let -- he got away.      I didn't need to shoot him.

  10     Q.    Sergeant Cole told you to shoot him, and you didn't

  11     shoot him; correct?

  12     A.    Yes.

  13     Q.    And he ran right past you; correct?

  14     A.    Yes.

  15     Q.    It wasn't a compliment, was it, when Henderson started

  16     calling you a lettuce eater instead of a meat eater, was it?

  17     A.    Yes.

  18     Q.    It was an insult when Henderson started calling you a

  19     lettuce eater, wasn't it?

  20     A.    No.

  21     Q.    Now, Henderson and Sergeant Radanomous Gill ultimately

  22     caught the burglary suspect who ran past you; correct?

  23     A.    Yes.

  24     Q.    And they found him under a wheel barrel; correct?

  25     A.    I wasn't there.



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   1     Q.    Did you later learn that they found the suspect under a

   2     wheel barrel?

   3                 MR. SCHWARTZ:     Objection.   Relevance, foundation.

   4                 THE COURT:    Overruled.

   5                 THE WITNESS:    Yes.

   6     BY MS. CARTER:

   7     Q.    Did Henderson and Gill brag to you about kicking the

   8     wheel barrel that the suspect was hiding under?

   9                 MR. SCHWARTZ:     Objection, hearsay.     Relevance.

  10                 THE COURT:    Overruled.

  11                 You may answer.

  12                 THE WITNESS:    No.

  13     BY MS. CARTER:

  14     Q.    Did Henderson and Gill tell you that they had kicked the

  15     wheel barrel that the suspect was hiding under?

  16                 MR. SCHWARTZ:     Objection.   Hearsay and relevance.

  17                 THE COURT:    You may have a running objection, but

  18     it's overruled.

  19                 MR. SCHWARTZ:     Thank you, Your Honor.

  20                 THE WITNESS:    No.

  21     BY MS. CARTER:

  22     Q.    Did Henderson and Gill tell you that they had kicked the

  23     subject when they found him?

  24     A.    No.

  25     Q.    Did Henderson and Gill tell you that they had kicked the



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   1     subject with the wheel barrel that he was hiding under?

   2     A.      No.

   3     Q.      Did Henderson and Gill talk about tasing the subject

   4     that they found hiding under the wheel barrel?

   5     A.      No.

   6     Q.      How long have you known the defendant?

   7     A.      Since he was hired.    I don't remember the exact year.

   8     Q.      Ever -- you've known the defendant ever since he started

   9     working at the Desert Hot Springs Police Department?

  10     A.      Yes.

  11     Q.      He's your friend, isn't he?

  12     A.      Yes.

  13     Q.      You consider him a mentor, don't you?

  14     A.      Yes.

  15     Q.      Do you socialize with him outside of work?

  16     A.      Yes.

  17     Q.      Have you been -- how often do you socialize with him

  18     outside of work?

  19     A.      That was a vague question.    Can you specify?

  20     Q.      How often do you currently socialize with him outside of

  21     work?

  22     A.      Once a day.

  23     Q.      Have you been to his house?

  24     A.      Yes.

  25     Q.      Has he been to your house?



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   1     A.    Yes.

   2     Q.    Have you met each other's families?

   3     A.    Yes.

   4     Q.    Are your families friends?

   5     A.    Yes.

   6     Q.    Do your families socialize together?

   7     A.    Yes.

   8     Q.    You were promoted to sergeant two years ago; correct?

   9     A.    Yes.

  10     Q.    You gave an acceptance speech at the time that you were

  11     promoted, didn't you?

  12     A.    Yes.

  13     Q.    And in that speech, you thanked the defendant for

  14     getting you the job of sergeant, didn't you?

  15     A.    No.

  16     Q.    You thanked the defendant, didn't you, as part of your

  17     acceptance speech?

  18     A.    For being my mentor.

  19     Q.    In any of the conversations that you've had with

  20     defendant at work or in the daily conversations that you've

  21     had with defendant outside of work, do you -- has defendant

  22     ever mentioned this case?

  23     A.    Yes.

  24     Q.    What has he said about it?

  25     A.    The way it's going.



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   1     Q.    So defendant talked to you about how this case is going

   2     for him.

   3     A.    Yes.

   4     Q.    Does defendant talk to you about other people who may

   5     testify in this case?

   6     A.    Yes.

   7     Q.    Before defendant was indicted, did he talk to you about

   8     being investigated by the FBI?

   9     A.    Yes.

  10     Q.    Did he tell you that it was in connection with two

  11     arrestees, Angelica Vargas and Jamal White?

  12     A.    That I don't recall.

  13     Q.    Did he talk to you before he was indicted about the

  14     people who might be talking with the FBI?

  15     A.    No.

  16     Q.    The two of you never discussed who might be talking to

  17     the FBI before defendant was indicted?

  18     A.    No.

  19     Q.    What was defendant telling you about the investigation?

  20     A.    That he was indicted.

  21     Q.    What did defendant tell you before he was indicted about

  22     this FBI investigation?

  23     A.    That it involved some type of use of force.

  24     Q.    At any point, did you tell the defendant things that you

  25     thought might be helpful to him in defending the charges in



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   1     this case?

   2     A.    I gave him points of perspective.

   3     Q.    You gave him your ideas about the case; correct?

   4     A.    Yes.

   5     Q.    And you gave him your advice about the case; correct?

   6     A.    Yes.

   7     Q.    And you gave him your perspective on potential witnesses

   8     in this case, didn't you?

   9     A.    No.

  10     Q.    You feel professionally indebted to defendant, don't

  11     you, because he's been your mentor for several years?

  12     A.    Not indebted.

  13     Q.    You feel professionally grateful to defendant because he

  14     has been your mentor for many years, don't you?

  15     A.    Yes.

  16     Q.    You feel personally grateful to defendant because he is

  17     a close friend, don't you?

  18     A.    Yes.

  19     Q.    You had heard, hadn't you, that before defendant --

  20     you'd heard before defendant was indicted, hadn't you, that

  21     Andrea Heath might be cooperating with the FBI?

  22     A.    Well, she was cooperating with the FBI.

  23     Q.    You knew that, didn't you?

  24     A.    I had heard of it.

  25     Q.    You discussed that with defendant, didn't you?



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   1     A.      Yes.

   2     Q.      Defendant was also aware that Andrea Heath was

   3     cooperating with the FBI, wasn't he?

   4     A.      I can't answer for him.

   5     Q.      Well, you discussed her cooperation with the FBI with

   6     them.    You just testified to that; correct?

   7     A.      Yes.

   8     Q.      At some point between February 2005 and today, you

   9     supervised Andrea Heath, didn't you?

  10     A.      Yes.

  11     Q.      You reported to defendant instances of potential

  12     misconduct by Andrea Heath, didn't you?

  13     A.      No.

  14     Q.      You discussed with defendant, didn't you, that Andrea

  15     Heath may have had help writing police reports?

  16     A.      Yes.

  17     Q.      That information was later reported to Kate Singer who

  18     was evaluating Andrea Heath at the time, wasn't it?

  19     A.      Yes.

  20     Q.      And you yourself --

  21                    THE COURT:   Well, just a minute.

  22                    Who was Kate Singer, please?

  23                    THE WITNESS:   I'm sorry, Your Honor?

  24                    THE COURT:   Who was Kate Singer?

  25                    THE WITNESS:   She was a police commander.



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   1     BY MS. CARTER:

   2     Q.     You yourself collected memoranda from other officers

   3     reporting instances of alleged misconduct by Andrea Heath,

   4     didn't you?

   5     A.     Well, when I think of the word misconduct, I think

   6     illegal, and the memorandums were not illegal activity.           It

   7     was her performance of her duties, officer safety that

   8     jeopardized in their belief their -- their safety.          She

   9     wasn't using proper safety methods.

  10     Q.     You collected memoranda criticizing Andrea Heath's

  11     performance and turned them in to Commander Singer, didn't

  12     you?

  13     A.     Not criticizing.     It was facts based on what they

  14     observed.

  15     Q.     These weren't facts that you observed, were they?

  16     A.     No, I observed one of 'em.

  17     Q.     With the exception of one incident, these weren't facts

  18     you observed, were they?

  19     A.     Yes.

  20     Q.     But you collected the memoranda documenting any problems

  21     with Andrea Heath's performance and forwarded them to Kate

  22     Singer, didn't you?

  23     A.     The memorandums were for officer safety out in the field

  24     that jeopardized her peers.

  25                   MS. CARTER:   Move to strike as nonresponsive.



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   1                   THE COURT:    The motion to strike is overruled.

   2     BY MS. CARTER:

   3     Q.     You forwarded these to Kate Singer, didn't you?

   4                   THE COURT:    That's asked and answered.

   5                   MS. CARTER:   May I publish for the jury and this

   6     witness Exhibit 1, the diagram?

   7                   THE COURT:    Go right ahead.

   8     BY MS. CARTER:

   9     Q.     Do you see the parking area designated on the diagram

  10     that is gray on the top of Exhibit 1?

  11     A.     Yes.

  12     Q.     You're not aware, are you, of any incident where an

  13     arrestee in the jail escaped from that parking area prior to

  14     2005, are you?

  15     A.     I don't recall.

  16     Q.     You're not aware, are you, of any incident where an

  17     arrestee escaped from the jail into a city office in the same

  18     building as the Desert Hot Springs Police Department, are

  19     you?

  20     A.     I don't recall.

  21     Q.     Did you discuss Andrea Heath's alleged performance

  22     problems with the defendant?

  23     A.     Yes.

  24     Q.     You did so after the defendant was indicted, didn't you?

  25     A.     That I don't recall.



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   1     Q.     You did so during the investigation of this case, didn't

   2     you?

   3     A.     That's kind of vague.     Can you rephrase the question?

   4     Q.     You discussed Andrea Heath's alleged performance

   5     problems with the defendant in 2010 and 2011, didn't you?

   6     A.     I don't recall.    I don't know when she departed from the

   7     department.

   8     Q.     You yourself were supervising Andrea Heath -- when did

   9     you become a sergeant?      I'm sorry, I'll rephrase.      You were

  10     supervising Andrea Heath in February 2010, weren't you?

  11     A.     Yes.

  12     Q.     You were her field training officer for some probational

  13     training that she was going through, wasn't you -- weren't

  14     you?

  15     A.     Yes.

  16     Q.     During that time period, you were discussing her alleged

  17     performance problems with the defendant, weren't you?

  18     A.     No.

  19     Q.     You were discussing them with Commander Singer, weren't

  20     you?

  21     A.     Yes.

  22     Q.     You've discussed Andrea Heath's alleged performance

  23     problems with defendant since you became a sergeant two years

  24     ago; correct?

  25     A.     Yes.



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   1     Q.      In February 2010, when Andrea Heath was going through a

   2     training program, Defendant Sclafani was in a supervisory

   3     position over her, wasn't he?

   4     A.      Directly over her?    He was a supervisor.

   5     Q.      He was the administrative sergeant, wasn't he?

   6     A.      Yes.

   7     Q.      And that was a higher position than the rest of the

   8     sergeants, wasn't it?

   9     A.      No.

  10     Q.      As administrative sergeant, he was in a position to

  11     speak with Commander Singer about Andrea Heath's performance

  12     issues, wasn't he?

  13     A.      Anyone -- or I could of.    Yes, he could of.

  14     Q.      You were in a position where you could speak to

  15     Commander Singer about Andrea Heath's performance problems;

  16     correct?

  17     A.      Yes.

  18     Q.      And you did so; correct?

  19     A.      Yes.

  20     Q.      Desert Hot Springs Police Department didn't do anything

  21     to remove defendant from a supervisory role over Andrea Heath

  22     or others who had cooperated in the FBI investigations, did

  23     they?

  24     A.      He wasn't her supervisor.

  25                    THE COURT:   Well, strike that answer.



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   1                 Request the question again, please.

   2     BY MS. CARTER:

   3     Q.    The Desert Hot Springs Police Department didn't do

   4     anything to prevent defendant from commenting on the

   5     performance of officers who had cooperated in the FBI

   6     investigation, did they?

   7                 MR. SCHWARTZ:    Objection.      Foundation, speculation.

   8                 THE COURT:    Sustained.

   9     BY MS. CARTER:

  10     Q.    To your knowledge, the Desert Hot Springs Police

  11     Department never did anything to prevent the defendant from

  12     being in a position where he could comment on the performance

  13     problems of officers who had cooperated against him in the

  14     FBI investigation.

  15     A.    I can't --

  16                 THE COURT:    Is that a question?

  17     BY MS. CARTER:

  18     Q.    To your knowledge.

  19     A.    Uh, I can't answer that.

  20     Q.    The Department -- the Desert Hot Springs Police

  21     Department didn't do anything to prevent you, a close friend

  22     of the defendant's, from supervising any of the officers who

  23     have cooperated in the FBI investigation, did they?

  24     A.    I cooperated with the FBI investigation so . . .          does

  25     that mean I can't do my job?       I . . .



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   1                 MS. CARTER:    Move to strike as nonresponsive.

   2                 THE COURT:    It will be stricken.

   3     BY MS. CARTER:

   4     Q.    The Desert Hot Springs Police Department didn't do

   5     anything, did it, to remove you from a position where you

   6     could supervise officers who were cooperating in an

   7     investigation against your close friend, the defendant.

   8                 THE COURT:    Did they.

   9     BY MS. CARTER:

  10     Q.    Did they?

  11     A.    They didn't need to.

  12     Q.    They didn't do anything to remove you from a position

  13     where you could supervise officers who were cooperating

  14     against your close friend, the defendant, did they?

  15     A.    They didn't need to.

  16     Q.    They didn't do anything --

  17                 THE COURT:    Well, just a minute.

  18                 Is that a no?

  19                 THE WITNESS:    No?

  20                 THE COURT:    Let's move on, please.

  21                 MS. CARTER:    May I have a moment, Your Honor?

  22                 THE COURT:    You may.

  23                 MS. CARTER:    Nothing further at this time.

  24                 THE COURT:    Okay.

  25                 Redirect.



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   1                     MR. SCHWARTZ:   Thank you, Your Honor.

   2

   3

   4                               REDIRECT EXAMINATION

   5     BY MR. SCHWARTZ:

   6     Q.      Sergeant, the memorandums that counsel went over with

   7     you regarding Andrea Heath, you mentioned that they had come

   8     to you about this.       Who are the "they" that you're talking

   9     about?

  10     A.      Officers that were assigned to my shift that worked

  11     directly with her.

  12     Q.      Okay.    So the officers who came to you with concerns or

  13     complaints about Andrea Heath, did you solicit them or did

  14     they come directly to you?

  15     A.      They came directly to me.     I didn't -- I didn't solicit

  16     them.

  17     Q.      And to your knowledge, were any of those officers

  18     involved in this case or this investigation?

  19     A.      No.

  20     Q.      And as a sergeant, when officers come to you with

  21     complaints about a fellow officer what are you supposed to do

  22     based on your job description and your responsibility?

  23     A.      I gather the information and if there is any policy

  24     violation, I issue a memorandum and send it up the chain of

  25     command.



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   1     Q.      And if there are potential policy violations in that

   2     chain of command, is the administrative sergeant one of those

   3     people in the chain of command?

   4     A.      No.

   5     Q.      And when you say chain of command, would it go to

   6     Commander Singer?

   7     A.      It would go directly to Commander Singer.

   8     Q.      Now, did you discuss any of those complaints of officer

   9     safety that other officers came to you with my client at the

  10     time?

  11     A.      Yes.

  12     Q.      And in that discussion, did my client have any direct

  13     control of the supervision of Andrea Heath at that time?

  14     A.      No.

  15     Q.      And was my client part of a decision to put Andrea Heath

  16     on the field training officer program at that time?

  17     A.      No.

  18     Q.      Whose decision was that?

  19     A.      Commander Singer's with my recommendation.

  20     Q.      At the time that Officer Heath was put on the field

  21     training officer program, how long had she been a police

  22     officer at Desert Hot Springs if you know?

  23     A.      She was there before I started and so I started in 2001.

  24     Q.      And based on your training and experience, were the

  25     issues brought to your attention the type of issues that



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   1     would prompt you to recommend more training in a program of

   2     that nature?

   3     A.    Yes.

   4     Q.    Why?

   5     A.    Because she was putting herself and her peers in

   6     predicaments that could be potentially hazardous and

   7     threatening and she needed more training.

   8     Q.    And counsel asked you at some point you related to

   9     Commander Singer that you thought Officer Heath had help

  10     writing reports.     Do you remember that question?

  11     A.    Yes.

  12     Q.    And why did you relate that to Commander Singer?

  13     A.    I didn't relate it directly to Commander Singer.

  14     Q.    Did you have -- did you make any opinion or document any

  15     opinion of that nature about Andrea Heath to Commander

  16     Singer?

  17     A.    No.

  18     Q.    That was just a thought or idea you had at the time?

  19     A.    Yes, only because I was supervising her PIP.

  20     Q.    What's a PIP?

  21     A.    It was Performance Improvement Plan.        It's issued to

  22     officers who get a below standard evaluation and at the time

  23     I was new, I was a new sergeant, newly promoted and I was

  24     issued her PIP.     And throughout her PIP, I saw that her

  25     reports got really good in a short time frame and it just



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   1     puzzled me that from when they started to a month-and-a-half

   2     into the PIP, it was a significant difference.          And it just

   3     seemed odd to me that the reports just improved vastly.           And

   4     at the time she was dating a detective and I came to the

   5     presumption that he was probably helping her.

   6     Q.    And when you came to that presumption, did you ever

   7     document that or make any allegations of misconduct based on

   8     that presumption?

   9     A.    No, I didn't document anything.

  10     Q.    And you testified that my client is a friend of yours;

  11     right?

  12     A.    Yes.

  13     Q.    Have you testified in court before, before today not in

  14     this case, but just in general?

  15     A.    Yes.

  16     Q.    How many times if you can estimate?

  17     A.    I would say more than 40.

  18     Q.    You know what it means to take an oath to tell the

  19     truth?

  20     A.    Yes.

  21     Q.    And although my client's your friend, would you lie for

  22     him in court?

  23     A.    No.

  24     Q.    Would you lie for him anywhere?

  25     A.    No.



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   1     Q.     Back in 2010, 2011 the time frame counsel spoke to you,

   2     was my client still employed as an administrative sergeant?

   3                   MS. CARTER:    Objection.   Relevance.

   4                   THE COURT:    That's overruled.     You may answer.

   5                   THE WITNESS:    I don't recall.

   6     BY MR. SCHWARTZ:

   7     Q.     Counsel asked you about officers who cooperated with the

   8     FBI.   Did you yourself cooperate with the FBI?

   9     A.     Yes.

  10     Q.     Any other officers besides Andrea Heath that you worked

  11     in 2010 and 2011 cooperated with the FBI?

  12     A.     Yes.

  13     Q.     And to your knowledge, had any of them complained about

  14     my client at all?

  15                   MS. CARTER:    Objection.   Calls for speculation.

  16                   THE COURT:    Sustained.

  17                   MR. SCHWARTZ:    May I have just a moment,

  18     Your Honor, please?

  19                   THE COURT:    Of course.

  20                   MR. SCHWARTZ:    Nothing further at this time.

  21                   THE COURT:    Is there anything for recross?

  22                                 RECROSS-EXAMINATION

  23     BY MS. CARTER:

  24     Q.     Your supervision of Andrea Heath's PIP, that didn't

  25     start until after she was cooperating with the FBI; correct?



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   1     A.    I don't know.

   2     Q.    Now, when you had your suspicion about Andrea Heath's

   3     boyfriend helping her writing her reports, you didn't

   4     communicate that to Commander Singer.         You communicated that

   5     to the defendant, didn't you?

   6     A.    Yes.

   7     Q.    Then he communicated that to Commander Singer; correct?

   8                  MR. SCHWARTZ:    Objection.   Speculation.

   9     Foundation.

  10                  THE COURT:    You may answer if you have knowledge.

  11                  THE WITNESS:    I believe so.

  12                  THE COURT:    But do you know?

  13                  THE WITNESS:    Not for sure, no.

  14                  THE COURT:    Then that's your answer.

  15     BY MS. CARTER:

  16     Q.    Did defendant indicate to you that he had communicated

  17     your suspicion to Commander Singer?

  18     A.    I don't recall.

  19                  MS. CARTER:    May I have a moment Your Honor?

  20                  THE COURT:    Of course.

  21                  MS. CARTER:    Nothing further, Your Honor.

  22                  THE COURT:    Anything further of this witness?

  23                  MR. SCHWARTZ:    Not at this time, Your Honor.

  24                  Thank you.

  25                  THE COURT:    Thank you very much, Sergeant.      You're



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   1     excused.

   2                  You may call your next witness.

   3                  MR. SCHWARTZ:   At this time counsel would ask to

   4     read into the record a stipulation regarding Exhibit 226?

   5                  THE COURT:   Certainly.

   6                  MR. SCHWARTZ:   Defendant Anthony Sclafani and

   7     Plaintiff United States of America hereby stipulate and agree

   8     as follows:    Defendant's Exhibit 226 are the redacted medical

   9     records pertaining to Jamal White on February 25th, 2005 that

  10     were obtained from the Desert Regional Medical Center that

  11     were made for the purpose of medical diagnosis or treatment

  12     and describing medical history, the past or present symptoms,

  13     pains or sensations at or near the time of the occurrence of

  14     the matter set forth therein.

  15                  226 is admissible under Federal Rule of Evidence

  16     803 (4) and may be admitted into evidence.         The parties

  17     respectfully request that the stipulation be read to the jury

  18     at the appropriate time in the trial and this stipulation be

  19     admitted into evidence.      So stipulated.

  20                  THE COURT:   Is that the stipulation the government

  21     agreed to?

  22                  MR. ARKOW:   Yes.

  23                  THE COURT:   It will be received.

  24                  MR. SCHWARTZ:   Defendant would rest at this time

  25     subject to rebuttal and we would like to be heard on that.



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   1                  THE COURT:   Let's dismiss the jury for a short

   2     while.

   3                               (Jury not present.)

   4                  THE COURT:   Outside the presence of the jury.

   5                  Do you wish to renew your Rule 29 position at this

   6     time, Mr. Schwartz?

   7                  MR. SCHWARTZ:   We would do that for the record,

   8     Your Honor, as well as we would also like to still object and

   9     make more of a record about the rebuttal expert offered by

  10     the government.

  11                  THE COURT:   With regard to the Rule 29 motion

  12     having been renewed, it is denied.

  13                  MR. SCHWARTZ:   Thank you, Your Honor.

  14                  With regard to the rebuttal expert, Your Honor, the

  15     force officer, we would ask respectfully for an offer of

  16     proof specifically what he would be testifying about since

  17     there was no force expert put forward in the case-in-chief of

  18     the defense.    As well as again renewing the fact that having

  19     been sitting here throughout the trial, I will actually take

  20     issue with counsel's chronology of Detective Cole's

  21     testimony.     The first 15 or more minutes of Detective Cole's

  22     direct examination by Mr. Arkow was specifically the use of

  23     force not by the defense.      That was the first 15 or

  24     20 minutes.    Then they went into the addendum and the other

  25     policies.    Then they went into Detective Cole's recollection



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   1     of events with Ms. Vargas.       That was beginning of the direct

   2     examination.    It was got into by defense on cross after they

   3     brought it out on direct.      Again, it seems a bit disingenuous

   4     to have a rebuttal witness sit here throughout the trial,

   5     rebuttal to the force expert.       We received no reports from

   6     him.   We couldn't even receive a name, Your Honor.         Because I

   7     asked him his name, I mispronounced it.         I thought it was

   8     some different pronunciation.       That's when I was corrected by

   9     the witness himself about his name.        No background, no

  10     curriculum vitae, nothing.

  11                 THE COURT:    You've received no reports about the

  12     prospective expert witness?

  13                 MR. SCHWARTZ:    None, Your Honor.     We were told he's

  14     a rebuttal witness.      As a matter of fact, back in November on

  15     November 1st spoke about having a possible rebuttal witness,

  16     when we addressed that issue, we were told he was a rebuttal

  17     witness and that would not be necessary.         We received nothing

  18     in the interim period.      Our expert witness wrote a report a

  19     long time ago in this matter.       There's no new evidence given

  20     to him to write a report with.       Moreover, not even a

  21     background.    I can't cross him on his background because

  22     there's been nothing as to who he is so I can find out what

  23     his background is and his credentials so there's nothing in

  24     front of me to cross-examine him with at this juncture.

  25                 And considering the fact that there's no other



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   1     expert to rebut except for questions solicited by the

   2     government of their own witness Detective Cole, it seems

   3     disingenuous to talk in general terms about training and

   4     experience.    Officer Cole testified very specifically to his

   5     experience at Desert Hot Springs Police Department in that

   6     particular addendum and how he was trained there and not

   7     generally how officers are trained throughout the State of

   8     California.

   9                 THE COURT:    Government wish to be heard?

  10                 MR. ARKOW:    Yes, Your Honor.     Just briefly on the

  11     fact that the government hasn't provided any expert report

  12     that's because there is not an expert report.          This issue was

  13     specifically raised in November when the case was supposed to

  14     go to trial and defense counsel specifically asked the Court

  15     for notice of the government's rebuttal expert, and as I

  16     remember, the Court indicated that because it's a rebuttal

  17     expert, there is no need to give notice prior.

  18                 The expert has not written a report.        The expert

  19     has met with the government and the statements of such

  20     meetings will be provided to the defense should the

  21     government call this witness prior to his testimony.           And the

  22     fact that this witness on the use of force was not present or

  23     is not a member of the Desert Hot Springs Police Department,

  24     isn't the requirement for a use of force expert.

  25                 The government filed a motion on what's permitted



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   1     by use of force expert and it's not the use of expert be a

   2     member of the Department or participate in the training.            The

   3     defense own use of force expert also has no percipient

   4     knowledge and no relationship to the Department and the

   5     government didn't object to that use of force expert from

   6     testifying based on that.      There needs to be restrictions as

   7     the Court so ruled and government's rebuttal expert would

   8     adhere to those restrictions.        There isn't requirement that

   9     the person have percipient knowledge of the training.

  10                  THE COURT:   Well, that's fine, but the defense is

  11     not put on anybody with regard to that in an expert nature.

  12     Government's proposed expert witness on the use of force will

  13     not testify.    Where are we now?

  14                  MR. SCHWARTZ:   We rest, Your Honor.      We have no

  15     rebuttal witnesses.

  16                  THE COURT:   Does the government have any rebuttal

  17     witnesses?

  18                  MR. ARKOW:   May I have a moment, Your Honor?

  19                  THE COURT:   You may.

  20                  MR. SCHWARTZ:   I apologize.    I may have misspoke.

  21     We have no rebuttal witnesses at this time.         I have no idea

  22     if the government has rebuttal witnesses or not.          We may

  23     bring up or not bring up, I don't expect to, but again no

  24     idea if they have rebuttal besides the proposed expert.            At

  25     this time we rest and we are done with our case.



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   1                 THE COURT:    I'm not sure I would allow surrebuttal

   2     in any regard, but let's see.

   3                 MR. ARKOW:    Your Honor, have another brief moment?

   4                 THE COURT:    Take your time.

   5                 MR. ARKOW:    The government might have one exhibit

   6     and we might be able to reach an agreement with the defense.

   7     One exhibit to introduce in its rebuttal case, but it might

   8     take some time, maybe in the neighborhood of 20 minutes to

   9     organize that exhibit.

  10                 THE COURT:    All right.    We'll be in recess.

  11                 MR. ARKOW:    Your Honor, I don't know what the next

  12     step of the procedure would be.

  13                 THE COURT:    The next step would be both sides

  14     having fully rested, we'll go over the instructions and

  15     tomorrow morning we'll have the arguments.

  16                 MR. ARKOW:    I did want to say that we did have the

  17     instructions to go over.

  18                 THE COURT:    Let's take a recess.

  19                               (Recess taken.)

  20                 THE COURT:    We're outside the presence of the jury.

  21                 Any matters that we need to take care of that would

  22     require the jurors to remain here today?

  23                 MS. CARTER:    Your Honor, I think that just depends

  24     on how the Court wants to proceed.        I think the government is

  25     prepared to introduce a couple more exhibits.          Two of which



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   1     were marked by the defense as to which the foundation has

   2     been stipulated by both parties.        That's Exhibits 205 and

   3     206, as well as a new exhibit, Exhibit 92 for which the

   4     government has a business records declaration Exhibit 92A and

   5     the government has provided copies to the defense as well as

   6     put them in the original exhibit folders and provided copies

   7     to your clerk.

   8                 I believe that after that, the defense may also

   9     seek to introduce an exhibit to which the government has

  10     stipulated as to foundation, but not to relevance and that's

  11     the payroll records.      The government would object on

  12     relevance, and we can discuss that more if the Court would

  13     like to do so now.     Thereafter, Your Honor, I believe we're

  14     also prepared to argue the disputed jury instructions and if

  15     Your Honor would like to do all of that --

  16                 THE COURT:    I haven't seen any opposition to the

  17     jury instructions.     Did you file something?

  18                 MS. CARTER:    I'll let Mr. Arkow speak to that

  19     issue.

  20                 THE COURT:    Well, if we don't know, we'll deal with

  21     all of the argument as to these remaining exhibits why don't

  22     let them go home.

  23                 MS. CARTER:    Yes, Your Honor.     If Your Honor would

  24     like to deal with these remaining exhibits and if Your Honor

  25     would like to deal with the jury instructions all now, we



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   1     could let the jury go home, admit the remaining exhibits in

   2     the morning and then close.

   3                 MR. SCHWARTZ:    I would concur on that, Your Honor.

   4                 THE COURT:    I don't understand why there should be

   5     anything left for tomorrow.       If we don't need the jury here.

   6                 MS. CARTER:    Your Honor, I would say the only thing

   7     we need the jury for would be to admit these different

   8     exhibits and publish them for the jury.         I don't think that

   9     will take very long.      The government doesn't plan to publish

  10     the two voluminous exhibits which are Defense Exhibit 205 and

  11     206, only the new Exhibit 92, which is just a few pages.           I

  12     know the payroll records the defense wants in are voluminous.

  13     I don't if they're planning on publishing that, that might

  14     take a while, but if they're not planning on publishing it, I

  15     think it would go in a matter of minutes.

  16                 THE COURT:    All right.    So are we ready to bring

  17     the jury in then?

  18                 MS. CARTER:    Unless Your Honor wants to hear any

  19     objections to the exhibits before they come in.

  20                 THE COURT:    What are the objections and to which

  21     exhibit?

  22                 MS. CARTER:    We object to the introduction to

  23     payroll records introduced by the defense.

  24                 THE COURT:    What exhibit is that now?

  25                 MR. SCHWARTZ:    203, Your Honor.



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   1                 MS. CARTER:    And, Your Honor, the government's

   2     objection on that would be the relevance of these voluminous

   3     payroll records.

   4                 THE COURT:    Well, perhaps, we should just have an

   5     offer on that.

   6                 MR. SCHWARTZ:    Yes, Your Honor.     It's really based

   7     on the government seeking to admit Exhibits 92 and 93.

   8                 THE COURT:    That affects your 203?

   9                 MR. SCHWARTZ:    It does, Your Honor.

  10                 THE COURT:    Tell me how.

  11                 MR. SCHWARTZ:    92 and 93 deal with the Desert Hot

  12     Springs Police Department jail inspection log that seems to

  13     represent the date of the Jamal White incident with a number

  14     of different officers logging in arrestees with no

  15     explanation besides the charge and the time.         There aren't

  16     even dates on many of them.       I think all of the different

  17     bookings of the arrestees, just the name of the officer and

  18     the arrestee and the case number and so forth.

  19                 And it seems to represent that all of these

  20     officers were somehow available at a specific time frame on,

  21     I guess, the 24th of February 2005.        Payroll records reflect

  22     that many of these officers were either working overtime

  23     and/or special assignments and not as available as this log

  24     seems to represent, which is an incomplete portrait of what

  25     was going on at the time.      Just a bunch of names and times of



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   1     somebody being booked in not what their assignment was, not

   2     what their availability was.

   3                 Couple these with the CAD reports, which are the

   4     other two exhibits that are voluminous that counsel mentioned

   5     which -- and you couple -- you put those two together with

   6     the patrol records it's much more of a full picture to be

   7     argued to the jury if need be.       We don't plan on publishing

   8     these three voluminous exhibits to the jury tomorrow.

   9     Possibly pointing out parts of them based on counsel's

  10     arguments if need be to explain things that may be on the

  11     surface explanatory in the exhibit itself, especially in the

  12     CAD report or the payroll record if it's explicit, but it

  13     gives a full picture.

  14                 This does not.    It's a list of names of people who

  15     are booked in with different officers so since they've

  16     already been stipulated to in foundation, they are relevant

  17     to help explain along with the other three exhibits a full

  18     picture of who's available, what their assignments were, what

  19     they may have been working as far as their shift that night.

  20                 THE COURT:    All right.    What's the government's

  21     opposition then to 203?

  22                 MS. CARTER:    The government objects on the basis

  23     that these records show, uh, that these records don't add

  24     anything further beyond what's listed in the CAD reports,

  25     which are the defendant's exhibits and explain what the



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   1     nature is of all of the arrests that were listed in the jail

   2     logs.   I just don't think that 203 adds anything and it's

   3     irrelevant.

   4                  THE COURT:    Well, what's the relevancy of 92?

   5                  MS. CARTER:   Your Honor, the defense has argued

   6     that the defendant effectively couldn't call for backup and

   7     was alone in the jail because of the Department being so busy

   8     and the smallness of the Department and that there weren't

   9     other officers available to assist.        And I think that the

  10     jail logs call that into question.

  11                  THE COURT:    Well, maybe the easiest thing to do is

  12     just admit 92 as well as 203 and just move on.          It's been

  13     indicated by the defense they don't intend to publish it.

  14     Why don't we call the jury in and get this out of the way and

  15     let them go home, and then we'll settle the instructions.

  16                                 (Jury present.)

  17                  THE COURT:    Please be seated, ladies and gentlemen.

  18     We had some matters of law we had to take care of.          Let me

  19     indicate to you the good news is that both sides have rested

  20     except for certain stipulations that are to be read into the

  21     record and I'm going to excuse you for the day and then

  22     tomorrow morning at 9 o'clock we'll have the closing

  23     arguments.

  24                  Who wishes to be heard?     Ms. Carter.

  25                  MS. CARTER:   Thank you, Your Honor.



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   1                 At this time the government would move into

   2     evidence Defense Exhibit 205 and 206 as well as Government's

   3     Exhibit 92.    And it's moving Defense Exhibit 205 and 206 in

   4     pursuant to a stipulation between the parties.           It moves in

   5     Government's Exhibit 92 under the provisions of the Federal

   6     Rule of Evidence 90211, certified business record.

   7                 THE COURT:    And that is the stipulation that you

   8     have agreed to, Mr. Schwartz?

   9                 MR. SCHWARTZ:    Yes, Your Honor, regarding 205 and

  10     206.

  11                 THE COURT:    Yes.

  12                 (Exhibits 205, 206 and 92 were admitted.)

  13                 MS. CARTER:    Your Honor, the government would

  14     request permission to publish Exhibit No. 92.

  15                 THE COURT:    Go right ahead.

  16                 MS. CARTER:    Page 1 Desert Hot Springs Police

  17     Department Jail Inspection Log.        Date/day:   February 24th,

  18     2005.   Watch Commander:     Sclafani.    Page 2 of Government's

  19     Exhibit 92.    Page 3 of Government's Exhibit 92.         Last entry

  20     on page 3 shows arrestee's name Jamal White.         Page 4 of

  21     Exhibit 92.    Thank you, Your Honor.

  22                 THE COURT:    Thank you.     Mr. Schwartz.

  23                 MR. SCHWARTZ:    Thank you, Your Honor.

  24                 At this time, defense would ask the Court to move

  25     into evidence Defense Exhibit No. 203, which has already been



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   1     stipulated to as to foundation and authentication and also

   2     based on the comments made previously on that.          We're not

   3     gonna publish to the jury at this time.

   4                 THE COURT:    It will come in over objection.

   5                 MR. SCHWARTZ:    Thank you, Your Honor.

   6                         (Exhibit 203 was admitted.)

   7                 THE COURT:    Both sides fully rested now; is that

   8     right?

   9                 MR. SCHWARTZ:    Yes, Your Honor.

  10                 MR. ARKOW:    Yes, Your Honor.

  11                 THE COURT:    Thank you.

  12                 Well, ladies and gentlemen, it's more important

  13     than ever that you not discuss this matter among yourselves

  14     or with anyone.     You've heard all of the evidence in the

  15     case, but you've yet to hear the arguments, which are not

  16     evidence, but can be important to you.         And more important

  17     you have to receive the final instructions of the Court which

  18     you must apply to the evidence which only you will have

  19     found.   So just put the matter aside and we'll see you at

  20     9 o'clock tomorrow morning for the arguments.          Everyone

  21     please rise for the jury.

  22                              (Jury not present.)

  23                 THE COURT:    We're outside the presence of the jury.

  24     This is the time for instructions, settling them and I'll

  25     start with the jointly proposed instructions.          And where I



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   1     mention numbers such as 1201 or 1304, I'm referring to

   2     O'Malley unless I otherwise so indicate.

   3                  Joints 1 through 10 which are 1201, 1304, 1212,

   4     1209, 1202, 1305, 2902, 2903, 2907 will all be used as

   5     requested.    11 is a special and since you jointly agreed upon

   6     it, the constitutional right to be free from unreasonable

   7     search and seizure, it will be given as requested.          12, which

   8     is 2904 under color of any law defined will be given as

   9     requested.    13 is 2905 modified willfully is defined given in

  10     standard form however.      14 is another -- this one is a 9th

  11     Circuit 7.9.05 in modified form.        It will be given as

  12     requested.

  13                  15, 16, 17, 18, 19, 20, 21, 22, 23 all O'Malley's

  14     1211, 1204, 1205, 1207, 1208, 1105, 1104, 1103, and 1109 will

  15     be given as requested.      24 is 1203 has to do with evidence

  16     received in the case, stipulations.        There was no judicial

  17     notice so it will be given in modified form leaving out

  18     judicial notice and inferences will be taken care of in a

  19     separate instruction already covered.

  20                  25 and 26 these are 1501 and 1507 will be given as

  21     requested.    27 is 1506, credibility of witnesses and that

  22     will be given in standard form.       28 is 1512 and defendant has

  23     not testified so that will not be given.         29, 30, 31, 32,

  24     1416, 1514, 1401, 1403 will be given as requested.          33 and

  25     it's 2001, the verdict form, will be given as requested.             34



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   1     is a special.    California Penal Code Section 835 (A) and that

   2     will be given as requested.

   3                 Then we have three proposed instructions from the

   4     defense.    They're listed as Defendant's 34.       First of all, a

   5     special, qualified immunity.       That's something that's for the

   6     Court that would have been taken care of before the trial.

   7     Indeed if it had been granted, we would not have had the

   8     trial so that will not be given.        35 is also a special and

   9     that can be argued because it will not be given.          36 is also

  10     a special, and that lends itself to argument as well and will

  11     not be given.

  12                 Then there are several court standard instructions

  13     that were not requested by either side jointly or otherwise.

  14     These are 1210, burden of proof, reasonable doubt given in

  15     standard form.     1706 motive explained and will be given in

  16     standard form.     1707 proof of intent also be given in

  17     standard form.

  18                 Now, I'll hear from the government with regard to

  19     any objections or comments.

  20                 MR. ARKOW:    May I have a moment, Your Honor?

  21                 THE COURT:    You may.

  22                 MR. ARKOW:    Your Honor, I don't believe with the

  23     exception of one of the Court's additional proposed

  24     instructions that I don't have a copy of O'Malley.          Can I ask

  25     the Court's indulgence on the 1706.        It's the motive.     I



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   1     don't know if it's a lengthy instruction.         Might the Court be

   2     able to read it?     I don't have my handbook with me.

   3                 THE COURT:    All right.    I don't have the standards

   4     here before me, but we'll get them in just a minute or two.

   5                 MR. SCHWARTZ:    Your Honor, if I may for the record?

   6                 THE COURT:    Mr. Schwartz.

   7                 MR. SCHWARTZ:    Regarding 1210, presumption of

   8     innocence and burden of proof and reasonable doubt, just for

   9     the record, Mr. Arkow has brought that to my attention that

  10     both sides seem to have omitted that inadvertently.           That did

  11     not make it in so both sides would request, I know the Court

  12     would give it sua sponte anyway, we would request it.

  13                 As far as the specials completely our inadvertence,

  14     the first 34 we requested was a joint and the Court would

  15     give it, the California Penal Code Section, but the next of

  16     the three specials is also, I guess, marked 34 which is

  17     rejected by the Court.      Just for housekeeping purposes, may

  18     we renumber the remaining three so we have a clear record

  19     about the first one being accepted which was a joint and the

  20     next three being rejected.

  21                 THE COURT:    All right.    Well, we can renumber them

  22     the Defendant's Proposed Instructions 35, 36 and 37 and they

  23     stand rejected.

  24                 MR. SCHWARTZ:    Thank you, Your Honor.

  25                 THE COURT:    Thank you.



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   1                 Just be a moment or so more.       1706 this is O'Malley

   2     motive explained.     Intent and motive are different concepts

   3     and should never be confused.        Motive is what prompts a

   4     person to act or fail to act.        Intent refers only to the

   5     state of mind of which the act is done or omitted.          Personal

   6     advancement and financial gain, for example, are two

   7     well-recognized motives for much of human conduct.

   8                 These praiseworthy motives may prompt one person to

   9     voluntary acts of good while prompting another person to

  10     voluntary acts of crime.      Good motive alone is never a

  11     defense where the act done or omitted is a crime.          The motive

  12     of the defendant is therefore is immaterial except insofar as

  13     motive may aid in the determination of the state of mind or

  14     the intent of the defendant.

  15                 MR. ARKOW:    Your Honor, can I have a moment?

  16                 THE COURT:    You may.

  17                 MR. ARKOW:    Thank you for reading the motive

  18     instruction.    The government doesn't object to that.         Revisit

  19     one of the elements instruction.        I don't know if now would

  20     be the right time.     Instruction No. 13 on willfully, which

  21     the Court indicated it would give in standard form.

  22                 THE COURT:    That's right.

  23                 MR. ARKOW:    This is O'Malley 2905.      Because the

  24     statute specifically requires willfulness and that in this

  25     case is an important element, the government feels that it is



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   1     important for the jury to be instructed in an excessive force

   2     case what willfully means.       Willfully in an excessive force

   3     case means to have the specific intent to use more force than

   4     was necessary.

   5                 To a layperson, to a juror without explaining what

   6     willfully means in the context of a deprivation of rights

   7     case, I believe would be, well, it would be the better course

   8     to actually define and give the jury a little more guidance

   9     on what willfully means as applied in this case.          And that's

  10     why the government would ask for the additional sentence,

  11     which I just paraphrased in the Proposed Joint Instruction

  12     No. 13.

  13                 The reason the government is asking for this is to

  14     make clear that an unreasonable search and seizure isn't

  15     sufficient in and of itself to amount to constitutional

  16     violation of deprivation of rights.        That it also needs to

  17     have this mental state which is willfully, and that it has to

  18     be done with the intent to deprive the person of the right

  19     with the intent to use more force than is necessary.

  20                 THE COURT:    Well, again, it's jointly agreed upon

  21     so I'll actually give both.

  22                 All right.    Anything further with regard to the

  23     instructions?

  24                 MR. ARKOW:    Not from the government.

  25                 THE COURT:    Mr. Schwartz?



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   1                 MR. SCHWARTZ:    Your Honor, the Court mentioned 1707

   2     and 1706; right?

   3                 THE COURT:    Yes.   You just heard me read 1706.

   4                 MR. SCHWARTZ:    Correct.

   5                 THE COURT:    And what was the other one?

   6                 MR. SCHWARTZ:    1707 which we don't have a copy in

   7     front of us either.

   8                 THE COURT:    Proof of knowledge or intent.       1707,

   9     the intent of a person or the knowledge that a person

  10     possesses at any given time may not ordinarily be proof

  11     directly because there is no way of directly scrutinizing the

  12     workings of the human mind.       In determining the issue of what

  13     a person knew or what a person intended at a particular time,

  14     you may consider any statements made or acts done or omitted

  15     by that person and all other facts and circumstances received

  16     in evidence which may aid in your determination of that

  17     person's knowledge or intent.

  18                 MR. SCHWARTZ:    Thank you, Your Honor.

  19                 THE COURT:    Let me ask is there anything further?

  20                 MR. SCHWARTZ:    Yes, Your Honor.     I apologize.    For

  21     housekeeping with madam clerk providing both counsel a full

  22     set of copies before tomorrow morning of the jury

  23     instructions with the purpose of preparing closing or

  24     tomorrow morning?     Do we have a set that we can actually

  25     publish to the jury while we close to the jury?



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   1                 THE COURT:    You'll have it tomorrow after I get it

   2     together before it's read to the jury.         Just bear in mind

   3     that in your arguments, you can indicate where you think the

   4     Court may instruct, but you cannot instruct.         You can't just

   5     refer to particular instructions.

   6                 MR. SCHWARTZ:    For my own edification, Your Honor,

   7     I apologize for the difference of forum, would the Court be

   8     instructing before argument or after?

   9                 THE COURT:    I would be instructing after.

  10                 MR. SCHWARTZ:    So will we be allowed to publish the

  11     actual instruction to the jury?

  12                 THE COURT:    No, that's the Court's burden.

  13                 MR. SCHWARTZ:    Thank you, Your Honor.

  14                 THE COURT:    Let me ask you how much time you're

  15     asking for your opening and closing arguments.          First of all,

  16     the government?

  17                 MR. ARKOW:    Your Honor, the government estimates

  18     including both opening, closing and the rebuttal to do it

  19     under two hours.

  20                 THE COURT:    Oh, you certainly will.      You'll do it

  21     in an hour and 15 minutes and you can divide it up any way

  22     you choose.    And defense may have up to that amount of time

  23     as well.    You don't have to use it of course.

  24                 MR. SCHWARTZ:    Thank you, Your Honor.

  25                 THE COURT:    All right.    9 o'clock tomorrow morning.



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   1                 THE CLERK:    Court is in recess.

   2                (Proceedings were concluded at 4:35 p.m.)

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                                                                             172


   1                           CERTIFICATE OF REPORTER

   2

   3     COUNTY OF LOS ANGELES         )

   4                                   )   SS.

   5     STATE OF CALIFORNIA           )

   6

   7     I, LAURA ELIAS, OFFICIAL REPORTER, IN AND FOR THE UNITED

   8     STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA,

   9     DO HEREBY CERTIFY THAT I REPORTED, STENOGRAPHICALLY, THE

  10     FOREGOING PROCEEDINGS AT THE TIME AND PLACE HEREINBEFORE SET

  11     FORTH; THAT THE SAME WAS THEREAFTER REDUCED TO TYPEWRITTEN

  12     FORM BY MEANS OF COMPUTER-AIDED TRANSCRIPTION; AND I DO

  13     FURTHER CERTIFY THAT THIS IS A TRUE AND CORRECT TRANSCRIPTION

  14     OF MY STENOGRAPHIC NOTES.

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  17     DATE: JANUARY 8, 2013__________

  18

  19          /s/   LAURA MILLER ELIAS

  20     LAURA MILLER ELIAS, CSR 10019

  21     FEDERAL OFFICIAL COURT REPORTER

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                            UNITED STATES DISTRICT COURT
